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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                           Exhibit G
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                                            DEPARTMENT OF THE TREASURY
                                                          WASHINGTON, O.C.

SECRETARY OF THE TREASURY




                                                            April 23, 2019


     The Honorable Richard E. Neal
     Chairman
     Committee on Ways and Means
     U.S. House of Representatives
     Washington, DC 20515

      Dear Chairman Neal:

     I write in response to your April 13 letter to the Commissioner of Internal Revenue concerning your
     April 3 request to obtain the confidential tax returns (and other return information) of President Trump
     and related business entities for 2013 through 2018. As explained in my April 10 letter, the
     Department of the Treasury shares your view that the Committee's request is unprecedented. 1
     Accordingly, the Department cannot act upon your request unless and until it is determined to be
     consistent with law.

      Due to the serious constitutional questions raised by this request and the serious consequences that a
      resolution of those questions could have for taxpayer privacy, the Department is consulting with the
      Department of Justice. Although federal law establishes no deadline for a response to your request, we
      expect to provide the Committee with a final decision by May 6, after receiving the Justice
      Department's legal conclusions. 2

      As you know, the overwhelming majority of requests for tax return information from the
      Congressional tax committees seek statistical data to inform the drafting of tax legislation. That is
      wholly appropriate, and we remain committed to promptly providing information to assist the
      committees in their legislative work. Your April 3 request is categorically different. It seeks the
      returns of a single individual taxpayer for an asserted purpose that is at odds with what you and many
      others have repeatedly said is the request's intent: to publicly release the President's tax returns. The
      Supreme Court has made clear that exposure for the sake of exposure is never a permissible purpose of
      Congressional inquiries,3 and this principle is all the more important when private and legally
      protected tax information is at stake.

      1 See Richard Rubin, Trump's Tax Returns in the Spotlight if Democrats Capture the House, Wall St. J., Oct. 3, 2018
      ("'This has never happened before, so you want to be very meticulous,' Mr. Neal said.").
      2 Unlike other provisions in section 6103, subsection (t) imposes no deadline for action on the Committee's request.
      Compare 26 U.S.C. § 6103(f) with, e.g., id. at (g)(5). In the absence ofa statutory deadline, agencies are entitled to a
      reasonable time to evaluate a requested action. While the Committee's April 3 letter was received three months after the
      beginning of the current Congress, we expect to provide the Committee with a final decision in substantially less time.
      3   See Watkins v. United States, 354 U.S. 178, 200 (1957).
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History demonstrates that private tax return information is susceptible to abuse for partisan purposes-
regardless of which party is in power. Unless carefully restrained by law, this risk threatens the
privacy of all taxpayers. Millions of Americans are required to entrust their personal financial
information to the IRS every year, and they rightly expect that their information will be used only for
legitimate governmental purposes. The Department takes this public trust seriously. IRS employees
are forbidden from accessing return information unless the information is necessary to perform their
bona fide job responsibilities. Accessing private tax returns for any other purpose is prohibited, and
intentionally disclosing tax return information for political purposes would be an egregious violation of
the trust that American taxpayers place in the IRS. Any IRS employee who does so could face
criminal penalties, in addition to termination.

Your request presents the question whether there are any legal limits on the ability of a Congressional
tax-writing committee to obtain an individual's private tax returns from the IRS and disclose them
publicly. Your April 13 letter indicates that the Committee believes there is only one: the Committee
need simply recite a legislative purpose, after which the Department must ignore all evidence in the
public record, however overwhelming, that the asserted purpose is pretext for a constitutionally suspect
one. We have concerns about that view of the law because it appears to neglect our respective
constitutional duties. The Committee's request presents the legal question especially starkly because
the public record surrounding the request indicates an impermissible purpose that is impossible to
ignore. The resolution of this issue could set a precedent that will reverberate for years to come-
again, regardless of which party is in power.

Out ofrespect for the Committee on Ways and Means, this letter explains some of the legal concerns
that have prompted the Department to consult the Department of Justice.

The Constitutional Limits

Our concerns begin with common ground. Based on your April 13 letter, the Committee appears to
agree that a request under 26 U.S.C. § 6103(f)-like any government action- must comply with the
Constitution. The Committee's authority under section 6103(f) cannot, of course, exceed Congress's
powers under Article I. Consequently, parsing the language of section 6103(f) alone cannot resolve
the legal issues raised by your request.

It is also common ground that Congress's investigative power is not unlimited. Article I grants
Congress no express power to investigate. The Supreme Court has explained that Congress's
investigative power exists as an "auxiliary to the legislative function," and so "the only legitimate
object" of this power is "to aid [Congress] in legislating."4 As the authorities cited in your letter
establish, Congressional committee requests for information must be pertinent to an investigation
within the jurisdiction of the committee and must reasonably serve a legitimate legislative purpose.




4
    McGrain v. Daugherty, 273 U.S. 135, 174, 178 (1927).

                                                           2
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The Supreme Court has made clear that "[n]o inquiry is an end in itself; it must be related to, and in
furtherance of, a legitimate task of the Congress." 5 The Court has also made clear what is illegitimate,
expressing "no doubt that there is no congressional power ... to expose for the sake of exposure. " 6

The Committee's Asserted Purpose

The Committee's April 3 letter requests President Trump's tax returns ostensibly to conduct
"oversight" of "the extent to which the IRS audits and enforces the Federal tax laws against a
President." But an honest assessment of the Committee's purpose must start with a recognition that
the Committee's letter is not the beginning of the story.

The Committee's April 3 request is the culmination of a long-running, well-documented effort to
expose the President's tax returns for the sake of exposure. This effort arose from the presidential
election campaign of 2016. After the President took office, this effort continued throughout the
previous Congress with what you and Representative Pascrell described in a committee report as the
Committee Democrats' "steadfast ... pursuit" to use section 6103(f) "to have [President Trump's]
individual tax returns disclosed to the public." 7 Then-Leader Pelosi and senior Ways and Means
Committee members repeatedly acknowledged that the purpose of requesting the President's tax
returns was to "make those tax returns public." 8 Indeed, the chief architects of the April 3 request also
served as original cosponsors of a House resolution of inquiry that sought to force the immediate
public release of the President's tax retums.9

Although those efforts failed in the last Congress, Leader Pelosi made clear that exposing the
President's tax returns would remain a top priority in the current Congress, describing it as "one of the
first things we'd do--that's the easiest thing in the world." 10 With the new majority in place, the
Committee took up Speaker Pelosi's charge and, in your own words, "constructed" a "case" to obtain
the President's tax returns. 11 The public record demonstrates that the animating purpose of this effort




5
     Watkins, 354 U.S. at 187.
6
     Id. at 200.
7
  H.R. Rep. No. 115-73, Dissenting Views, at 8 (Mar. 30, 2017), https:l/www.congress.gov/l 15/crpt/hrpt73/CRPT-
l 15hrpt73.pdf("Committee Democrats remain steadfast in our pursuit to have [President Trump's] individual tax returns
disclosed to the public,").
8
 Transcript, House Democratic Leadership Press Conference at 2017 Issues Conference (Feb. 8, 2017),
https:l/www.speaker.gov/newsroom/282017/ (hereinafter Issues Conference).
9
     H. Res. 186, 115th Cong. (Mar. 9, 2017)..
10
  John Wildermuth, Pelosi: Trump's tax returns are fair game ifDemocrats win House, S.F. Chron., Oct. 11, 2018,
https://www.sfchronicle.com/politicslartic le/Pelosi-Trump-s-tax-retums-are-fair-game-i f-13 297954.php (quoting Leader
Pelosi).
11
 Sunlen Serfaty, et al., Republicans Warn Trump Tax Request 'Sets A Dangerous Standard' and Accuse Dems Of
Weaponizing IRS, CNN, Apr. 5, 2019, https:l/www.cnn.com/2019/04/04/politicsltrump-tax-retums-request-republicans-
congress/index.html ("[W]e wanted to make sure that the case that we constructed was in fact one that would stand up
under the critical scrutiny of the federal courts.").


                                                            3
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was and remains exposure of a political opponent's private tax information. A chronology of this
public record is attached to this letter as Appendix A. 12

No doubt aware of the public record showing that the Committee's constructed case is a pretext for
exposure, the Committee has urged the Department to "not ... question or second guess" the motives
behind the legislative purpose the Committee now invokes. But it is not questioning or second-
guessing the Committee to credit its Chairman's and Members' own public statements as to the
purpose of their request, or to credit similar statements by the Speaker of the House.

Even if those public statements could be ignored, the Committee's stated interest in "the extent to
which the IRS audits and enforces the Federal tax laws against a President" is difficult to accept on its
face. As an objective matter, the terms of the Committee's request do not fit the Committee's asserted
purpose in several respects. To start, the Committee does not inquire about the IRS's procedures for
presidential audits. Although the IRS has conducted mandatory examinations of Presidents' tax
returns since 1976, the Committee does not request additional information about those policies or ask
whether those policies and procedures have changed over time. 13 Nor does the Committee ask for any
information about the extensive protections that ensure such audits are conducted with extreme
confidentiality and without improper interference.

In addition, the request seeks tax information related only to the current President. The Committee's
exclusive focus on a single taxpayer cannot be explained by the public availability of past Presidents'
tax returns; to the best of our knowledge, much of the tax information that the Committee requests for
President Trump, including all IRS audit files, has never been publicly released with respect to any
past President.

Further, any genuine assessment of the effectiveness of a specific taxpayer audit requires reviewing the
outcome of the audit- revisions in liability, settlements, and other resolutions. But rather than request
completed audit files on past Presidents, the Committee seeks the returns of the only President for
whom the audit process necessarily remains ongoing, as sitting Presidents are subject to mandatory
examinations under IRS rules. 14

On the other hand, the Committee's request is perfectly tailored to the other purpose that you have
repeatedly and publicly stated: to obtain and expose the President's tax returns. See App. A.

The Department's Concerns

The Committee has not denied that the stated purpose of its April 3 letter is a constructed pretext.
Instead, it has maintained that the veracity of its stated purpose is irrelevant as a matter of law. As
noted, the Committee's April 13 letter asserts that "the motivations underlying Congressional action

12
   Appendix B, also attached to this letter, catalogues additional statements concerning the Committee's purpose and the
efforts culminating in the Committee's April 3 request.
13
  See IRM § 3.28.3.1; see also Joint Committee on Taxation, Background Regarding the Confidentiality and Disclosure of
Federal Tax Returns (JCX-3-19) (Feb. 4,2019), https://www.jct.gov/publications.html?func- startdown&id=5 l59.
14
  See IRM § 3.28.3.4.3 ("Individual income tax returns for the President and Vice President are subject to mandatory
examinations.").


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are not to be second guessed." It is not clear to us that the Executive Branch must always accept a
pretextual legislative justification as constitutionally adequate, in the face of widespread,
contemporaneous acknowledgment by the Committee Chairman and other key Members that the actual
objective is to use the IRS as a means to expose the tax returns of a political opponent. Nor do we
share your confidence that there is no limit to the willingness of the courts to accept obviously
pretextual legislative justifications for information demands-particularly when private tax
information is at risk.

We emphasize that the Department's concerns with the legality of the Committee's request extend far
beyond its particulars. Taxpayer confidentiality is the linchpin of our tax system of self-assessment
and voluntary compliance. The IRS promises to "administer the disclosure provisions of the Internal
Revenue Code ... according to the spirit and intent of these laws, ever mindful of the public trust." 15
This trust would be eroded if government officials could obtain the tax returns of any person they
dislike solely for the sake of exposure, to achieve partisan political aims, or for other impermissible
purposes- merely by constructing a pretextual case and demanding all other government actors blindly
defer to that pretext. If that were so, nothing could stop a committee chairman from obtaining the tax
returns of any politically disfavored individual- whether it be the head of a civil rights organization,
an executive of a major corporation, a political donor, or a local activist. In all of these cases, a
committee chairman would need only assert, as here, that he wants the returns of a particular individual
in order to review the adequacy of the IRS's process of auditing that individual.

The Department recognizes that the Executive Branch and Legislative Branch have an obligation to
work together to accommodate their respective legitimate needs and interests. To the extent the
Committee wishes to understand, for genuine oversight purposes, how the IRS audits and enforces the
Federal tax laws against a President, we would be happy to accommodate that interest by providing
additional information on the mandatory audit process. I would encourage the Committee to defer its
unprecedented request and revisit this issue after it has the opportunity to work together with the
Department to meets its stated legislative needs.

Although the Committee has asserted that any response from the Department other than production of
the requested materials will be "interpreted as a denial," that would be a misinterpretation. The
Committee's request has not been denied or granted at this time. The Department expects to take final
action on the Committee's request by May 6, after receiving the Justice Department's legal
conclusions.

                                                     Sincerely,


                                                     5-r~T. f1              AN~

                                                     Steven T. Mnuchin




15
   IRS Pub. 1075, Tax lnfonnation Security Guidelines for Federal, State and Local Agencies, at 1,
https://www.irs.gov/pub/irs·pdf/p I 075.pdf.


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                                                  APPENDIX A

                                                   Chronology

The 2016 Election

The effort to expose President Trump's tax returns began during the 2016 election. The
Democratic candidate for President urged then-candidate Trump to release his returns. When he
declined to do so, the Democratic candidate sought to generate political pressure to force their
release, repeatedly criticizing his decision and expressing her belief that public exposure of the
returns would be politically damaging to her opponent. 1

Representative Neal's Advocacy for Exposure

When President Trump took office after the election, the House Minority Leader and senior
Democratic members of the Committee on Ways and Means (including Ranking Member Neal)
took up their party's election season demands in Congress. Their chosen tool was
section 6103(0. The stated rationales have shifted over time, but the objective remained
constant: Use section 6103(0 to obtain the tax returns and make them public.

As Ranking Member of the Committee, Representative Neal immediately began urging the
Committee to obtain President Trump's tax returns for the purpose of releasing them. In
February 2017, he explained his desire for a public opportunity to "see the tax forms" and for
"the media to sift and sort" them. 2 In March 2017, Ranking Member Neal and other Members
urged Chairman Kevin Brady to submit a section 6103(0 request "for copies of the President's
federal tax returns for the last ten years." 3 They explained that the Committee should "then vote
... to submit the President's federal tax returns to the House of Representatives and Senate-
thereby, if successful, making them available to the public."4 In April 2017, Ranking Member


1
  See, e.g., Tire Lead with Jake Tapper (CNN television broadcast May 11, 2016) ("[W]hy doesn't he want to release
them? Yes, well, we're going to find out."), ht1p://www.cnn.comffRANSCRIPTS/1605/l l/cg.01.html; New Day
(CNN television broadcast Aug. 2, 2016) ("We would like to sec those tax returns, wouldn't we?"),
http://www.cnn.com!fRANSCRlPTS/1608/02/nday.03.html; The Situation Room (CNN television broadcast Aug,
12, 2016) ("He refuses to do what every other presidential candidate in decades has done and release his tax
returns."), http://www.cnn.comffRANSCRIPTS/1608/12/silroom.O I.html; Erin Burnett Out Front (CNN television
broadcast Sept. 6, 2016) ("He said that the American people don't care about his tax returns, and in fact, he's also
said that it's none of our business. I just think he's dead wrong."),
http:l/www.cnn.com/TRANSCRIPTS/1609/06/ebo.Ol.html; The Situation Room (CNN lelevision broadcast Sept. 7,
2016) ("He clearly has something to hide."), http://www.cnn.com!fRANSCRIPTS/1609/07/sitroom.02.html;
Newsroom (CNN television broadcast Sept. 27, 2016) ("Maybe he doesn't want the American people, all of you
watching tonight, lo know that he's paid nothing in Federal taxes ...."),
htlp://www .cnn.com/TRAN SCRIPTS/ 1609/27/cnr.03.html.
2 Press Conference, Rep. Richard Neal, C-SPAN Video, at 19:10-20:19 (Feb. 14, 2017), https://www.c-

span.org/video/?424013-1 /house-de mocrals-call-i nvcstigation-wake-michael-n yn ns-resi gn ati on.
3
 Leucr from Hon. Bill Pascrell, Jr., et al., to Hon. Orrin Hatch, Chairman, S. Comm. on Finance, & Hon. Kevin
Brady, Chairman, H. Comm. on Ways & Means (Mar. 2, 2017).
4 Jd.
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Neal recalled the 2016 election and asserted that President Trump was "supposed to" have made
these returns available to the-public as a candidate.5

Ranking Member Neal also served as an original cosponsor of a resolution of inquiry, H. Res.
186, providing that "the Secretary of the Treasury is directed to furnish to the House of
Representatives, not later than l O days after the adoption of this resolution, the full tax returns of
Donald J. Trump for tax years 2006 through 2015."6 Ranking Member Neal explained that the
resolution was designed to force the immediate public exposure of those returns. 7

On March 30, 2017, the Committee voted down H. Res. 186 and issued a report condemning the
resolution as an "abuse of authority." 8 In dissenting views included in the committee report,
Ranking Member Neal reiterated his "steadfast" objective of exposing the President's tax returns
to the public:

           Committee Republicans continue to block our requests for this Committee to
           exercise its authority under Section 6103 of the Internal Revenue Code to obtain,
           examine, and make available to the public President Trump's federal tax
           returns .... Committee Democrats remain steadfast in our pursuit to have
           [President Trump's] individual tax retums disclosed to the public.9

Ranking Member Neal's dissenting views made no mention of any interest in understanding how
the IRS audits and enforces the Federal tax laws against a President, as the Committee's April 3
letter now asserts.

Other Senior House Democrats' Advocacy for Exposure

Leader Pelosi and other senior Ways and Means Committee members also repeatedly stated that
the purpose of requesting President Trump's tax returns was to "make those tax returns public." 10
Leader Pelosi explained that requesting the returns would satisfy the public's "right to know" 11
and complained that Republicans "won't join us in the release of the President's tax returns." 12


s "This is not about the law, this is about custom and practice. It's a seuled tradition ... candidates reach the level
of expectation that they're supposed to release their tax forms." Press Conference, Minority Leader Nancy Pelosi,
Demanding a Vote Requiring President Trump lo Release Tax Returns (Apr. 5, 2017),
hups://www.speaker.gov/newsroom/4517/ (remarks of Ranking Member Richard Neal).
6 H. Res. 186, 115th Cong. (Mar. 9, 2017).

7
 See id.; H.R. Rep. No. 115-73, Dissenting Views, al 8 (Mar. 30, 2017),
https://www.congrcss.gov/115/crpl/hrpt73/CRPT-l l 5hrpl73.pdf (hereinafter Ways & Means Reporl).
8
    Ways & Means Report, al 3.
9
     Ways & Means Report, Dissenting Views, al 7-8 (emphasis added).
10 Transcript, House Democratic Leadership Press Conference at 2017 Issues Conference (Feb. 8, 2017),

hups://www.speaker.gov/newsroom/282017/ (hereinafter Issues Conference).
11
   163 Cong. Rec. H2498 (daily ed. Mar. 28, 2017) (statement of Rep. Pelosi),
https://www.congress.gov/l I 5/crec/2017/03/28/CREC-2017-03-28-house.pdf.
12
     Press Conference, Minority Leader Nancy Pelosi (July 13, 2017), https://www.speaker.gov/newsroom/7 I 3 I 7-8/.


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Exposure for the sake of exposure was the one constant purpose that drove the requests that
Ranking Member Neal and other senior Committee members advocated throughout the previous
Congress. In addition, Congressional leaders offered a wide variety of evolving rationales and
speculation about what, if anything, might be found in the tax returns upon their exposure.
Before the conclusion of the Special Counsel's investigation, a common theory was that the
President's tax returns would show "the President's relationship with Russia," "disruption of our
[2016] election," and "any personal embarrassment to the President." 13 Leader Pelosi
speculated: "We think [the returns] will show us some connection that will be useful in the
investigation of what do the Russians have on Donald Trump ...." 14

Another theory offered by the lead sponsor of H. Res. 186, Representative Pascrell, was that
exposure of the President's tax returns would help "make sure the President and his family are
not hiding financial ties that could cause conflicts in decision making." 15 Representative Pascrell
also thought it was "imperative for the public to know" the President's "self-reported net
worth," 16 and Ranking Member Neal thought they should know "just how extensive [his]
overseas investments have been," based on the tax returns 17

In yet another theory, Ranking Member Neal's dissent in support of H. Res. 186 explained that
the President's tax returns would give the "clearest picture" of the President's "financial health"
and inform the consideration of tax reform legislation (which was enacted in December 2017). 18

Other theories included speculation that the tax returns would expose the President's
"emoluments"· 19 would show his "charitable donations" or "tax loopholes"· 20 would reveal
               '                                                           '
whether he had a "Chinese connection"; 21 or would "maybe ... be a path to some other

13 Issues Conference, supra note 10; Press Conference, Minority Leader Nancy Pelosi (Mar. 8, 2017),

https://www.speakcr.gov/ncwsroom/382017-2/.
14 Press Conference, Minority Leader Nancy Pelosi (Apr. 6, 2017), https://www.speaker.gov/newsroom/4617-4/.

15 Press Conference, House Democrats (Feb. 14, 2017) (statement of Rep. Bill Pascrell, Jr.),

http://www.cq.com/doc/ne wsmakertranscripts-514 2259 ?O&search=IDV xTm49.
16
  Letter from Hon. Bill Pascrell, Jr., to Hon. Kevin Brady, Chairman, H. Comm. on Ways & Means (Feb. I, 2017),
hups://pascrel I.house.gov/ ne ws/docu men tsi ngle .aspx ?Docume ntlD=2195.
17 Press Conference, Rep. Richard Neal, C-SPAN Video, at 19:46 (Feb. 14, 2017), h1tps://www.c-

span.org/video/?4240 13-1 /house-democrats-cal I-investigation-wake-michae1-flynns-resi gnation.
18
     Ways & Means Report, Dissenting Views, at 7.
19
   Letter from Hon. Elijah E. Cummings, Ranking Member, H. Comm. on Oversight.& Gov't Reform, el al., lo Hon.
Paul Ryan, Speaker, U.S. House of Reps., at 2,6 (Jan. 12, 2017),
hups ://oversight. house .gov/sites/democrats.oversight.house .gov/files/doc ume nts/2017-0 1-
l 2 .Ranking %20Members %20to%20Speakcr%20Ryan%20Re .Trump_. pdf; see also Amendment offered by Rep.
Doggeu to the Authorization and Oversight Plan of the H. Comm. on Ways & Means (Feb. 14, 2017), https://gop-
waysandmeans.housc.gov/wp-content/uploads/2017/02/20170214-Doggeu-Amendment.pdf.
20 See, e.g., 163 Cong. Rec. H4212 (May 16, 2017) (stalemenl of Rep. Pascrcll),

https://www.congress.gov/congressional-record/2017 /05/ I6/house-section/aniclc/H4212- I.
21 Press Conference, Minorily Leader Nancy Pelosi, Demanding a Vote Requiring President Trump to Release Tax

Relurns (Apr. 5, 2017), hnps://www.speaker.gov/newsroom/4517/.

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questions." 22 At other times, Leader Pelosi simply explained that exposure of the President's tax
returns would "fulfill" a campaign "promise," or would "honor tradition." 23

Although the efforts to force the public release of President Trump's tax returns in the previous
Congress failed (despite numerous letters, committee amendments, resolutions, and other
attempts), 24 Leader Pelosi made clear that the effort would continue if Democrats took the House
in 2018. The San Francisco Chronicle reported in October 2018 that Leader Pelosi "told the
[paper's] editorial board" that "demanding the president's tax returns 'is one of the first things
we'd do-that's the easiest thing in the world."' 25

The Committee's Construction of a Pretextual Purpose

With a new Democratic majority in the House, the Committee pressed ahead in the effort to
obtain and release the President's tax returns. Chairman Neal had recognized the unprecedented
nature of the Committee's planned request: ''This has never happened before, so you want to be
very meticulous." 26

In January 2019, the Committee spokesperson explained the plan to "force"·the disclosure of the
President's returns: '"[Chairman Neal] wants to lay out a case about why presidents should be
disclosing their tax returns before he formally forces [the President] to do it. '"27

Because Congress may only conduct investigations to further a legitimate legislative purpose,
Congressional investigations ordinarily begin with a legislative purpose, and that purpose defines
the scope of the documents that are pertinent to the Committee's investigation. 28 But here, by
the Committee's own admission, the Committee's investigation began in the opposite direction.
The Committee started with the documents it planned to obtain and release (the President's tax
returns), and then it sought- in Chairman Neal's words- to "construct[]" a "case" for seeking
the documents that would appear to be in furtherance of a legitimate legislative purpose. 29


22 Press Conference, Minority Leader Nancy Pelosi (June 2, 2017), hllps://www.spcakcr.gov/ncwsroom/62 l 7-4/.

23 Blog Post, Minority Leader Nancy Pelosi, Where arc President Trump's Tax Returns?, (June 20, 2017),

hUps://www.spcakcr.gov/ncwsroom/where-arc-presidcnl·trumps· lax-rcturns/.
24
  See Rep. Bill Pascrcll, President Trump's Tax Returns, hups://pascrcll.housc.gov/issues/prcsidcnt-trumps-1ax-
rcturns/ (last visited Apr. 23, 2019).
2
 s John Wildermuth, Pelosi: Tmmp's tax returns are fair game if Democrats win House, S.F. Chron., Oct. 11, 2018
(quoting Leader Pelosi), hllps://www.sfchroniclc.com/politics/articlc/Pclosi·Trurnp-s-lax-relurns-are-fair-game-if-
l 3297954.php.
26 Richard Rubin, Trump's Tax Retttms in tlie Spotliglit if Democrats Capture the House, Wall St. J., Oct. 3, 2018.

27 Brian Faler, /11coming Democratic Tax Chairman Won't Make Quick Grab For Tmmp 's Returns, Politico, Jan. 2,

2019 (quoting Comrnince Spokesperson), hups://www.politico.com/story/2019/0 l/02/congrcss-lrump-tax-returns-
richard-neal-1056839.
28 See 163 Cong. Rec. S2260 (daily ed. Apr. 4, 2019) (statement of Sen. Grassley),

https://www.congress.gov/l I 6/crec/2019/04/04/CREC-2019-04-04-senate.pdf.
2
                      Republicans Warn Trump Tax Request 'Sets A Dangerous Standard' and Accuse Dems Of
 ~ Sunlen Serfaty, et al.,
Weaponizitlg IRS, CNN, Apr. 5, 2019, https://www.cnn.com/2019/04/04/politics/trump-tax-returns-request-

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The Committee knew that exposure for the sake of exposure would not be a legitimate purpose,
and so the Committee could no longer rely upon prior statements to that effect. At the same
time, the Committee lacked jurisdiction to rely upon other frequently cited public justifications
for the request-such as interest in "the Russian connection"30 and the President's alleged
financial conflicts of interest. Other House committees might have tried to make 6103(f)
requests based upon such justifications, but no other House committee would have the authority
to publicly release the tax returns after obtaining them. As the Committee was advised by the
former Chief of Staff of the Joint Committee on Taxation, there is "one key for purposes of
disclosing the information to the public" and the statute "gave that key to the tax committees." 31
To use this key, the Committee on Ways and Means had to make the request, and the other
justifications that might have been offered by other committees had to be discarded.

Thus, the Committee with the key to publicly disclose the tax returns, in Chairman Neal's words,
"constructed" a "case" to justify its request. 32 The result was the Committee's letter of April 3,
asserting a single legislative interest in "the extent to which the IRS audits and enforces the
Federal tax laws against a President," and requesting the tax returns and related documents of
just one of them-President Trump. 33




republicans-congress/index.html ("[WJe wanted to make sure that the case that we constructed was in fact one that
would stand up under the critical scrutiny of the federal courts,").
30
  Press Conference, Minority Leader Nancy Pelosi, Demanding a Vote Requiring President Trump to Release Tax
Returns (Apr. 5, 2017), hllps://www.spcaker.gov/ncwsroom/45 I 7/.
31
  Transcript, legislative Proposals and Tax law Related to Presidential and Vice-Preside11tial Tax Returns:
Hearing before Subcomm. 011 Oirersight, H. Comm. 011 Ways & Means, I 16th Cong. (Feb. 7, 2019) (statement of
Joseph K. Yin, Professor, Univ. of Virginia Law School),
https!//waysandmcans.house.gov/sites/democrats.waysandmeans.house.gov/fi\es/documents/Transcript%20-
%20Final.pd f.
n Serfaty, supra note 30 (quoting Chairman Neal).
3
 >Lener from Hon. Richard E. Neal, Chairman, H. Comm. on Ways & Means, to Hon. Charles P. Rettig, Comm'r,
IRS (Apr. 3, 2019),
https://waysandmeans.housc.gov/sites/democrats.waysandmeans.housc.gov/liles/documcnts/Neal%20Leuer%20to%
20Rettig%20%28signed%29%20-%202019 .04.03.pdf.


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                                         APPENDIXB

                                    Additional Statements



Presidential Candidate Hillary Rodham Clinton (May 11, 2016)

      When you run for president, especially when you become the nominee, that is kind of
      expected. My husband and I have released 33 years of tax returns. We have got eight
      years on our Web site right now. So you have got to ask yourself, why doesn't he want to
      release them? Yes, well, we're going to find out.

The Lead with Jake Tapper (CNN television broadcast May 11, 2016),
http://www.cnn.com/fRANSCRIPTS/1605/l l/cg.Ol .html.


Presidential Candidate Hillary Rodham Clinton (Aug. 2, 2016)

       We would like to see those tax returns, wouldn't we?

CNN New Day (CNN television broadcast Aug. 2, 2016),
http://www.cnn.comffRANSCRIPTS/ 1608/02/nday.03.html.


Presidential Candidate Hillary Rodham Clinton (Aug. 12, 2016)

       He refuses to do what every other presidential candidate in decades has done and release
       his tax returns.

The Situation Room (CNN television broadcast Aug. 12, 2016),
http://www.cnn.com/fRANSCRIPTS/1608/12/sitroom.01.html.


Presidential Candidate Hillary Rodham Clinton (Sept. 6, 2016)

       He said that the American people don't care about his tax returns, and in fact, he's also
       said that it's none of our business. I just think he's dead wrong. He clearly has something
       to hide.

       The scams, the frauds and the questionable relationships, the business activities that have
       stiffed workers, refused to pay small businesses, so, clearly, his tax returns tell a story
       that the American people deserve and need to know.

Erin Burnett Outfront (CNN television broadcast Sept. 6, 2016),
http://www.cnn.comfl'RANSCRIPTS/ 1609/06/ebo.O I .html.




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Presidential Candidate Hillary Rodham Clinton and Vice Presidential Candidate Tim Kaine
(Sept. 7, 2016)

       Clinton: He clearly has something to hide. We don't know exactly what it is, but we're
       getting better guesses.

       ** *
       Clinton: Clearly, his tax returns tell a story that the American people deserve and need to
       know.

       ***
       Kaine: Maybe he doesn't want people to see that he's got some connections.

The Situation Room (CNN television broadcast Sept. 7, 2016),
http://www.cnn.com/TRANSCRIPTS/ 1609/07/sitroom.02.html.


Presidential Candidate Hillary Rodham Clinton (Sept. 27, 2016)

       Maybe he doesn't want the American people, all of you watching tonight, to know that
       he's paid nothing in Federal taxes.

CNN Newsroom (CNN television broadcast Sept. 27, 2016),
http://www.cnn.com/TRANSCRIPTS/ 1609/27/cnr.03.html.


Ranking Member Richard Neal (Jan. 12, 2017)

       We request that you join us in fulfilling our sworn constitutional duty by seeking and
       obtaining copies of the following documents: President-Elect Trump's personal and
       corporate tax returns, domestic and foreign, for the past five years, regardless of whether
       they are still under audit ... and all other documents necessary to help protect against
       violations of the Emoluments Clause of the Constitution and conflicts of interest,
       including with foreign adversaries such as Russia.

Letter from Hon. Richard E. Neal, Ranking Member, H. Comm. on Ways & Means, et al., to
Hon. Paul Ryan, Speaker, U.S. House of Reps. (Jan. 12, 2017),
https://oversight. house.gov/sites/democrats.oversight. house.gov/files/documen ts/2017-01-
l 2. Ranking%20Members %20to% 20S peaker%20Ryan % 20Re. Trump_. pdf.


Rep. Bill Pascrell (D-NJ} (Feb. l, 2017)

       President Trump has chosen to keep an ownership stake in his businesses, the scope of
       which we have no knowledge of as he has refused to disclose his tax returns. We believe
       that it is imperative for the public to know and understand his 564 financial positions in
       domestic and foreign companies and his self-reported net worth of more than $10 billion.

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      We know that state-owned enterprises in China and the United Arab Emirates are
      involved in his businesses, and that his business ties stretch to India, Turkey, the
      Philippines, and beyond. Russia, Saudi Arabia, and Taiwan may also have ties to his
      businesses, these foreign entities are paying rents, licensing agreement payments, and
      issuing permits for developments -- effectively giving them a tool to influence our new
      President.

       ***
      If the President does not either release his returns or consent to examination of such
      returns by this Committee, I urge you, as Chairman of the Committee and pursuant to
      Section 6103(t)(l) of the Internal Revenue Code, to submit a written request to the
      Secretary of the Treasury for copies of the President's federal tax returns by February 15,
      2017. These returns and all accompanying return information should then be made
      available for examination by all Committee Members in a closed executive session. I
      further request that the Committee then vote in this closed session to submit the
      President's federal tax returns to the House of Representatives-thereby, if successful,
      making them available to the public.

       ***
       I believe the powerful Ways and Means Committee has the responsibility to use that
       power to ensure proper oversight of the executive branch by requesting a review of
       President Trump's tax returns and moving towards a formal release of these documents to
       the public.

Letter from Hon. Bill Pascrell, Jr. to Hon. Kevin Brady, Chairman, H. Comm. on Ways & Means
(Feb. 1, 2017), https://pascrell.house.gov/news/documentsingle.aspx?Document1D=2 l 95.


Minority Leader Nancy Pelosi (Feb. 5, 2017)

       I want to know what the Russians have on Donald Trump. I think we have to have an
       investigation by the FBI into his financial, personal and political connections to Russia,
       and we want to see his tax returns, so we can have truth in the relationship between Putin,
       whom he admires, and Donald Trump.

Meet the Press (NBC television broadcast Feb. 5, 2017), at 3:56,
https://www.nbcnews.com/meet-the-press/video/full-pelosi-interview-trump-white-house-using-
diversionary-tactics-870511683900.


Minority Leader Nancy Pelosi (Feb. 8, 2017)

       As you know, I've been questioning the President's relationship with Russia. It's
       extremely alarming, and it could undermine our national security. What on earth do the
       Russians have on Donald Trump? That he could flirt with the idea of lifting sanctions on
       Russia despite their aggressive military behavior? That he could lift the sanctions already

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       on the successor to the KGB a group that we know hacked into our systems, disrupting
       our election? That he is saying things about a person, that qualifies as a war criminal and
       giving some equivalence to the United States of America? This is the President of the
       United States. The President of the United States.

       So I'm just saying, at least show us your tax returns. Is the audit over? Is this the audit
       for eternity? And of course that's never been a justification for not releasing your tax
       returns. The President continues to hide his tax returns which could provide vital insight
       into what financial influence Russia has on him, whether it's personal, political or
       financial. We call upon the FBI to do that investigation, it is in our national security
       interest. Chairman Brady is Chairman of the Ways and Means Committee and Chairman
       of the Joint Committee of Taxation, is empowered to demand Trump's tax returns from
       the Secretary of the Treasury. All he has to do is ask, and hold a committee vote to make
       those tax returns public.

       Mr. President what do the Russians have on you personally, politically or financially?

       The process is - the privilege only goes to the Chairman to make the request. But then
       the committee can vote to make the tax returns public. This is as you may recall, you
       wouldn't recall, but in your history books you may read what happened with President
       Nixon a long time ago. So we're calling on Chairman Brady to bring out those tax
       returns.

Press Conference, Minority Leader Nancy Pelosi, House Democratic Leadership Press
Conference at 2017 Issues Conference (Feb. 8, 2017),
https://www .speaker.gov/newsroom/282017/.


Minority Leader Nancy Pelosi (Feb. 13, 2017)

       The reports of the Trump-Russia dossier gain credence with each passing day. As long as
       Republicans refuse to compel the release of President Trump's tax returns, they are
       complicit in covering up Russia's financial, personal and political hold on the
       Administration.

Press Release, Minority Leader Nancy Pelosi, Pelosi: Fire General Flynn (Feb. 13, 2017),
https://www.speaker.gov/newsroom/2 l3 l 7/.


Minority Leader Nancy Pelosi (Feb. 14, 2017)

       And again Mr. Neal, whose importance in this meeting is that we need to see the truth of
       President Trump's investments. His committee has the authority, the chairman of the
       committee in the House or the chairman of the committee in the Senate, Chairman Brady
       or Chairman Hatch and in addition to the Finance Committee, and Ways and Means
       Committee - the Joint Committee on Taxation, the chairman on that committee, Mr.
       Brady, again, have the authority to ask the Secretary of the Treasury for the tax returns of
       anyone in our country if there's reason to know that.

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       They can ask for the president's tax returns, and then by a vote in their committee, they
       can decide where they should be released to the public, so there's another stonewalling
       because they said they can't be caught up in rummaging. This isn't rummaging, this is
       truth and consequences. The American people have a right to know the truth. We see the
       consequences which can be dangerous to our national security.

       So the question is, why is the FBI not fully investigating the political, personal, and
       financial ties of Donald Trump to the Russians? Show us your tax reforms -- return so we
       can see what some of that connection might be, and stop flirting with lifting sanctions and
       condemning the ST ART Treaty and the rest of that, which have -- because you' re flirting
       with Russia, which has a direct impact on the safety of the American people.

Press Conference, Minority Leader Nancy Pelosi, Reacting to Resignation of National Security
Advisor Michael Flynn (Feb. 14, 2017), https://www.speaker.gov/newsroom/2142017/.


Rep. Bill Pascrell (D-NJ) (Feb. 14, 2017)

       The president and the Congressional Republicans have been very vocal about their desire
       to enact comprehensive tax reform for this congress. We believe it is imperative for the
       public to know and understand how such tax reform will benefit the president.

       ***
       This is not willy-nilly, this is a serious attempt to get the truth to the American people,
       and you will decide Mr. Chairman, using the power of this committee to make them
       public.

H. Comm. on Ways & Means, Full Committee Markup, at 32:45, 40:45 (Feb. 14, 2017)
(Statement of Rep. Pascrell), https://gop-waysandmeans.house.gov/event/ways-means-hold-
meeting/.


Ranking Member Neal (Feb. 14, 2017)

       The President has indicated during the course of the campaign that only he knows how to
       fix the tax system and as we proceed to tax reform, which is a very complex issue and
       matter, as we all know, and how difficult it is to do. There is an opportunity here for all of
       us to cooperate and for the president to lead the way. So I am in support of Mr. Doggett's
       amendment and Mr. Pascrell's letter.

H. Comm. on Ways & Means, Full Committee Markup, at 33:23 (Feb. 14, 2017) (statement of
Ranking Member Neal), https://gop-waysandmeans.house.gov/event/ways-means-hold-meeting/.




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Rep. Sander Levin (D-MI) (Feb. 14, 2017)

       The only way you will bury the doubts is by letting the public see the information.

H. Comm. on Ways & Means, Full Committee Markup, at 36:51 (Feb. 14, 2017) (statement of
Rep. Levin), https://gop-waysandmeans.house.gov/event/ways-means-hold-meeting/.


Amendment Offered by Rep. Lloyd Doggett (D-TX) (Feb. 14, 2017)

       Amend the Ways and Means Committee oversight plan by adding the following under
       matters under the Committee's Tax Jurisdiction:

       Pursuant to Section 6103(t)( 1) of the Internal Revenue Code, the Chairman of the
       Committee will submit a written request to the Secretary of the Treasury by March I,
       2017, for copies of the President's federal tax returns for the last ten years. These returns
       and all accompanying return information should then be made available for examination
       by bipartisan Committee staff, and additionally, in executive session, by all committee
       members. The Committee will review potential conflicts and violations of the
       emoluments clause, and potential entanglements with foreign governments and foreign
       state owned enterprises.

Amendment offered by Rep. Doggett to the Authorization and Oversight Plan of the H. Comm.
on Ways & Means (Feb. 14, 2017), https://gop-waysandmeans.house.gov/wp-
conten t/u ploads/20l7/02/20170214-Doggett-Amendment. pdf.


Ranking Member Richard Neal (Feb. 14, 2017)

       The last seven American presidents have released to the American people their tax forms.
       And they've done it as a standard operating procedure through the course of the campaign
       and then subsequently during their time as president.

       It was an annual event, and there was sufficient opportunity then for members of
       Congress, members of the administration and the media to sift and sort what those tax
       forms told us. So in this instance, I think there is, again, an opportunity for all of us to
       review the president's tax forms to find out just how extensive the overseas investments
       have been.

       And it'll then give the American people the chance to see it. He indicated that once the
       audit was done, that he would release the tax forms, and then pointed out just a few
       weeks ago through a spokesperson that the American people didn't care about those tax
       forms.

       Well I believe that ABC News has indicated that 75 percent of the American people
       would like to see the tax forms, consistent with what the last seven American presidents
       have done....


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Press Conference, Statement by Rep. Richard Neal, C-Span Video, 19:00 (Feb. 14, 2017),
https ://www.c-span.org/video/?424013-1 /house-democrats-call-in vestigation-wake-michael-
fl ynns-resignation.


Rep. Bill Pascrell {D-NJ) (Feb. 14, 2017)

       Since February, we've held nine votes on the floor of the House of Representatives. And
       in -- March 1st, I offered a resolution of inquiry that was debated in the Ways and Means
       Committee. At each turn, the Republicans in Congress blocked our efforts.

       Why are they hiding and being complicit, to use the speaker's -- the leader's word, in
       keeping Trump's conflicts secret and hidden? Why? Why is that? Why won't Republican
       members of Congress use their authority in the law to provide oversight and make sure
       the president and his family are not hiding financial ties that could cause conflicts in the
       decision-making?

       We have no way of knowing whether Mr. Trump or his firms have received Russian
       income or loans or entered into Russian-linked partnerships. We have a right to know
       that.

       The legislative branch has the responsibility and the authority to check the executive
       branch, under Section 6103 of the tax code, which allows for an examination of his
       returns, the authority put in place specifically so Congress could examine conflicts of
       interest in the executive, following that great scandal in the early 1920s.

       Today, I'll be introducing a new resolution of inquiry to give the Ways and Means
       Committee another chance to get it. And -- and by the way, in conclusion, it's not enough
       for Republican congressmen to go to town meetings and say, "Yes, the president should
       give us his tax returns," and then not -- come back to Washington and not have the
       courage to stand up for their convictions and say, "This is the direction we should be
       going."

       And that's not good enough. So there's been over 20 people on the other side that have
       said he should release his tax returns, but will not vote to do it. Congress can, and must,
       use its authority to address President Trump's tax returns and give the American people
       the transparency they deserve.
Press Conference, Statement by Rep. Bill Pascrell (D-NJ) (Feb. 14, 2017),
http://www.cg.com/doc/newsmakertranscri pts-514 2259.


Minority Leader Nancy Pelosi (Feb. 27, 2017)

       What do the Russians have on Donald Trump that he would flirt with lifting our sanctions
       against Russia because of their aggression in eastern Europe? That he would undermine
       the START Treaty? Praise Putin and stonewall any investigation to bring the truth to
       light - including releasing his tax returns?

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Press Conference, Minority Leader Nancy Pelosi, Prebuttal to President Trump's Speech to Joint
Session of Congress (Feb. 27, 2017), https://www .speaker.gov/newsroom/22717-2/.


Resolution Offered by Rep. Bill Pascrell (D-NJ) (Feb. 27, 2017)

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to Congress and the American people.

       ***
       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election understand the President's financial ties to the Russian
       Federation and Russian citizens, including debts owed and whether he shares any
       partnership interests, equity interests, joint ventures or licensing agreements with Russia
       or Russians;

       ***
       Whereas, the American people have the right to know whether or not their President is
       operating under conflicts of interest related to international affairs, tax reform,
       government contracts, or otherwise:

       Now, therefore, be it resolved, that the House of Representatives shall, one, immediately
       request the tax return information of Donald J. Trump for tax years 2006 through 2015
       for review in closed executive session by the Committee on Ways and Means, as
       provided under section 6103 of the Internal Revenue Code, and vote to report the
       information therein to the full House of Representatives; two, support transparency in
       government and the longstanding tradition of Presidents and Presidential candidates
       disclosing their tax returns.

163 Cong. Rec. Hl337 (daily ed. Feb. 27, 2017) (statement of Rep. Pascrell),
https://www.congress.gov/congressional-record/2017/02/27/house-section/article/H 1337-2.


Rep. Bill Pascrell (D-NJ) (Feb. 27, 2017)

       To restore the dignity of the House, we must use our authority to request President
       Trump's tax returns and give the American people the transparency they deserve.

       ***
       Let's shine a bright light on the President's conflicts together, together, as we, as a
       Congress, and the broader American public can judge whether his decisions are being
       made for himself, his business interests, or for the greater good of the American people.

163 Cong. Rec. H 1337 (daily ed. Feb. 27, 2017) (statement of Rep. Pascrell),
https ://www.congress.gov/congressional-record/2017/02/2 7/house-section/article/H 133 7-2.


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Minority Leader Nancy Pelosi (Feb. 28, 2017)

       Tonight, House Republicans made themselves accomplices to hiding President Trump's
       tax returns from the American people.

       Our security and our democracy have been endangered by Russia's clear influence on the
       Trump Administration. The American people deserve the truth about Russia's personal,
       political and financial grip on President Trump. If there's nothing there, then what are
       Republicans afraid of?

       The President's refusal to release his tax returns is yet another example of his contempt
       for the promises he made in his campaign. While Republicans stonewall an independent
       investigation, Democrats will continue to demand the truth for the American people.

Press Release, Minority Leader Nancy Pelosi, Statement on Republican Vote to Keep Trump's
Tax Returns Secret (Feb. 28, 2017), https://www .speaker.gov/newsroom/2272017-2/.


Minority Leader Nancy Pelosi (Feb. 28, 2017)

       What we are calling for is an independent outside commission, take it away from
       Congress, take it away from politics, an independent outside commission to look into the
       political, personal and financial ties of the Trump organization -- him personally, his
       businesses, his campaign -- to the Russians.

       ***
       The American people want to know the truth. He could begin by releasing his tax returns.
       Why should every president since Gerald Ford in modern history have released his tax
       returns, but this president says I'm above not only the law but the traditions of the office
       that I hold?

Andrea Mitchell Reports (MSNBC television broadcast Feb. 28, 2017),
https://www.speaker.gov/newsroom/3202 l 7/.


Minority Leader Nancy Pelosi (Mar. 2, 2017)

       Well, in all of this all roads lead to the Republicans in the Congress. What are they afraid
       of? They have been afraid of the truth every step of the way. They don't want to see the
       President's tax returns, when every President since Gerald Ford, every President in
       modern times has released his tax returns, and candidates release their tax returns.

       So what is it? That would be a key indicator of their interest in the truth. So the question
       is to them, what are they afraid of in the tax returns? What are they afraid of in the
       investigation of the Russian involvement to undermine our democracy, to repeat that in
       other countries, to come back here and do that again?



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Press Conference, Minority Leader Nancy Pelosi (Mar. 2, 2017),
https://www .speaker.gov/newsroom/322017-3/.


Minority Leader Nancy Pelosi (Mar. 3, 2017)

       What do the Russian have on Donald Trump that he would do that? And I don't know
       who knew what in all of this, but it's important for us to find out and we must have that
       investigation.

       ***
       What are -- what are the Republicans in Congress afraid of? They don't want to see the
       president's tax returns, the first time since Gerald Ford, who was -- since Gerald Ford, all
       presidents have put it out. They don't want to investigate in a wholesome way the hack --
       the disruption of our system? What are the Republicans afraid of? This goes right to the
       Republicans in Congress -- to their doorstep. And when the public sentiment, as Lincoln
       said, is everything.

       As they hear from their constituents, perhaps maybe they'll be more inclined to seek the
       truth.

Statement of Minority Leader Nancy Pelosi, Politico Playbook Interview (Mar. 3, 2017),
http://www.cq.com/doc/newsmakertranscri pts-505 3910.


Rep. Bill Pascrell (D-NJ), et al. (Mar. 3, 2017)

       We write you to request that you use your authority to request the tax returns of President
       Donald Trump for review by the Senate Committee on Finance and House Committee on
       Ways and Means.

       ***
       If the President does not either release his returns or consent to examination of such
       returns by this Committee, we urge you, as Chairman of the Committee and pursuant to
       Section 6103(f)( 1) of the Internal Revenue Code, to submit a written request to the
       Secretary of the Treasury by March 15, 2017, for copies of the President's federal tax
       returns for the last ten years. These returns and all accompanying return information
       should then be made available for examination by all Committee Members in a closed
       executive session. We further request that the Committee then vote in this closed session
       to submit the President's federal tax returns to the House of Representatives and Senate
       -thereby, if successful, making them available to the public.

       We believe the powerful and respected Committees on Finance and Ways and Means
       have the responsibility to ensure oversight of the executive branch by requesting a review
       of President Trump's tax returns and moving toward a formal release of these documents
       to the public.

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Letter from Hon. Bill Pascrell, Jr., et al., to Hon. Orrin Hatch, Chairman, S. Comm. on Finance,
& Hon. Kevin Brady, Chairman, H. Comm. on Ways & Means (Mar. 2, 2017),
https://pascrell.house.gov/news/documentsingle.aspx?DocumentID= l 898.


Resolution Offered by Rep. Anna Eshoo (D-CA) (Mar. 7, 2017)

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to Congress and the American people.

       ***
       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election understand the President's financial ties to the Russian
       Federation and Russian citizens, including debts owed and whether he shares any
       partnership interests, equity interests, joint ventures or licensing agreements with Russia
       or Russians;

       ***
       Whereas, the American people have the right to know whether or not their President is
       operating under conflicts of interest related to international affairs, tax reform,
       government contracts, or otherwise: Now, therefore, be it:

       Resolved. That the House of Representatives shall--

       I. Immediately request the tax return information of Donald J. Trump for tax years 2006
       through 2015 for review in closed executive session by the Committee on Ways and
       Means, as provided under Section 6103 of the Internal Revenue Code, and vote to report
       the information therein to the full House of Representatives.

       2. Support transparency in government and the longstanding tradition of Presidents and
       Presidential candidates disclosing their tax returns.

163 Cong. Rec. H 1571 ( daily ed. Mar. 7, 2017) (statement of Rep. Eshoo ),
https://www.congress.gov/congressional-record/2017/03/07 /house-section/article/H 1571-6.


Rep. Bill Pascrell (D-NJ) (Mar. 8, 2017)

        And we can't get the President's tax returns. Not yet. It's going to be embarrassing
        when those tax returns come out. They're coming out sooner or later. They're coming
        out sooner or later. I may have nothing at all to do with how they get out, but they're
        going to get out sooner or later.

H. Comm. on Ways & Means, Markup of GOP Health Care Repeal Bill, 115th Cong., at 2:41 :20
(Mar. 8, 2017), https://youtu.be/3RMbUKK9ETs.



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Minority Leader Nancy Pelosi (Mar. 8, 2017)

       Well it's a question of the American people wanting to know the truth. Why is it that
       President Trump should be the exception to every candidate or cabinet nominee for
       president since Gerald Ford - that the public has been able to see the President's tax
       returns. What does the President have to hide? What do the Russians have on Donald
       Trump, personally, politically and financially, that he is keeping a secret? Why are the
       Republicans in Congress accomplices to that secrecy? Why are the Republicans in
       Congress voting to say "no, we don't think he should release his tax returns?" It's a very
       bad vote for them. That's a very bad vote for them, that's a very bad vote for them.

       So our members - Mr. Pascrell as you know, acts with great spontaneity, yesterday
       Congresswoman Eshoo, others Members of Congress want to say, "we want the facts, we
       want the truth." The tax returns many believe are part of the Russian connection, the
       disruption of our election, the money pouring into the Trump organization, any personal
       embarrassment to the President - we want to know the truth, and we can start by seeing
       his tax returns. Which is not an extraordinary request - unless you're Donald Trump and
       think you're above custom, tradition and maybe even the law. Thank you!

Press Conference, Minority Leader Nancy Pelosi (Mar. 8, 2017),
https://www .speaker.gov/newsroom/382017-2/.


Minority Leader Nancy Pelosi (Mar. 9, 2017)

       They don't want the American people to see the facts. They're always afraid of the facts.
       It's just a remarkable thing. They're afraid of the facts of the President's tax returns.
       And we will continue to ask for those tax returns because we want to know about the
       Russian connection.

       What do the Russians have on Donald Trump politically, financially, and personally?
       What is that connection? What would the tax returns tell us about that? And we need a
       bipartisan, independent, nonpartisan outside investigation to get to the bottom of that.

Press Conference, Minority Leader Nancy Pelosi (Mar. 9, 2017),
https://www.speaker.gov/newsroom/3917 /.


Rep. Sander Levin (D-MI) (Mar. 28, 2017)
       I think you are wrong about 90%. Even if it were only 10%, let the public see it. Let the
       public see it.

       ***
       This committee should use its authority to better understand the connections between the
       President, and his family, and Russia.



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      The President now says he wants to lead the effort on tax reform. His past returns are
      directly relevant to our forthcoming discussions about tax reform. It is important to
      understand how such tax reform would benefit the President, his 564 positions in
      domestic and foreign companies, and his self-reported net worth of more than $10 billion.

       ***
       We are asking for the disclosure because it is relevant to the discussion about the Russian
       connection, and now you all and we all say that we want to take up tax reform. The
       President says he wants to lead the effort. With hidden tax reform, tax returns, that is
       totally incredible.

H. Comm. on Ways & Means. Markup of H. Res. 186. I 15th Cong., at 21 :30 (Mar. 28, 2017),
https://www.youtube.com/watch?v=CeRfw_m9bMw&feature=youtu.be.


Rep. Bill Pascrell (D-NJ) (Mar. 28, 2017)
       Our constituents are demanding transparency.... We have the authority. We have the
       cause. With all of the conflicts we know about, and all that we don't, we must gather all
       of the possible information we can. The IRS is best equipped to conduct financial
       investigations into possible crimes dealing with money. The President's tax returns will
       provide us with the clues.

H. Comm. on Ways & Means. Markup of H. Res. 186, I 15th Cong., at 28:52 (Mar. 28, 2017),
https://www.youtube.com/watch?v=CeRfw_m9bM w&feature=youtu.be.


Rep. Lloyd Doggett (D-TX) (Mar. 28, 2017)
       The House investigation has been totally discredited within the last week. Whether it
       was discredited or not, this committee has a role to play with reference to tax returns.
       And when you have the President's son in law talking with former KGB official running
       a bank in Russia, and you have an indication from the President's son a few years back
       that the Russians make up a pretty disproportionate cross section of a lot of our assets,
       and that's a direct quote, there is reason to want to know whether there is anything in his
       tax returns showing payments to Russians, or payments from Russians. It may be that
       not every bit of the information we are seeking is not contained within the form on
       individual taxes that President Trump may have filed. But there may well be an
       indication in those returns of information that will lead to that information, and that I why
       I believe the President went back on his promise to the American people, and refused to
       disclose the very information he said he would disclose in the future when these audits
       were concluded. I want to know whether he has, as his son said, continued to have a
       pretty disproportionate cross section of a lot of their assets with the Russians.

       ***

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      I want to emphasize that the Chairman and the members of this committee are
      misconstruing section 6103, narrowly construing it to justify this cover-up of the Trump
      tax returns. and that this committee has a significant interest in these returns as it relates
      to the administration of our business. Both with reference to our trade agenda, from
      which we heard about earlier today, given the large number of trademarks that President
      Trump was able to magically get approved from the Chinese earlier this year, and with
      reference to our tax responsibilities.

       ***
      Without those tax returns to know what conflicts may exist for him, what kind of self-
      dealing may exist for him, we will never know. Section 6103 deals with more than tax
      administration, it deals with the assessment, collection, enforcement. publication, and
      statistical gathering function under the laws and statutes. There is every reason why in
      terms of its work in tax and the fact that we are considering major tax legislation. that we
      would want to know whether he will benefit personally, and that is why he is advancing
      these various legislative changes.

H. Comm. on Ways & Means, Markup of H. Res. 186, I 15th Cong., at 40: 10 (Mar. 28, 2017),
https://www.youtube.com/watch?v=CeRfw_m9bMw&feature=youtu.be.


Rep. Ryan Higgins (D-NY) (Mar. 28, 2017)

       Ryan Higgins (D-NY) (54:06): The American people have a right to know if the
       President would personally gain from proposals he will ask this committee to consider.
       The American people have a right to know if the President's tax returns offers clarity
       about business ties he may have to Russia, to Germany, to Saudi Arabia, or any other
       foreign interest that may benefit them and or him.
H. Comm. on Ways & Means, Markup of H. Res. 186, 115th Cong., at 54:06 (Mar. 28, 2017),
https://www.youtube.com/watch?v=CeRfw_m9bMw&feature=youtu.be.


House Resolution 186 (Mar. 9, 2017)

       IN THE HOUSE OF REPRESENTATIVES

       March 9, 2017

       Mr. Pascrell (for himself, Mr. Crowley, Mr. Danny K. Davis of Illinois, Ms. Sewell of
       Alabama, Mr. Neal, Ms. Eshoo, Mr. Doggett, Mr. Sarbanes, Ms. De1Bene, Mr.
       Thompson of California, and Mr. Blumenauer) submitted the following resolution;
       which was referred to the Committee on Ways and Means

       Of inquiry directing the Secretary of the Treasury to provide to the House of
       Representatives the tax returns and other specified financial information of President
       Donald J. Trump.

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            Resolved, That the Secretary of the Treasury is directed to furnish to the House of
       Representatives, not later than 10 days after the adoption of this resolution, the full tax
       returns of Donald J. Trump for tax years 2006 through 2015, as well as financial
       documentation and any information in possession of the Secretary that specify-

            ( l) Mr. Trump's debts held by foreign governments and foreign companies;

            (2) Mr. Trump's investments in foreign countries and foreign enterprises; and

           (3) Mr. Trump's use of any tax shelters, corporate structures, tax avoidance
       maneuvers, abatements, or other loopholes to reduce or eliminate tax liability.

H.R. Res. 186, 115th Cong. (2017), https://www.congress.gov/bill/115th-congress/house-
resolution/186.


Ranking Member Richard Neal and Rep. Bill Pascrell (D-NJ) (Mar. 30, 2017)
                  .
       Committee Democrats strongly oppose the Committee's action of unfavorably reporting
       H. Res. 186, Resolution of inquiry directing the Secretary of the Treasury to provide to
       the House of Representatives the tax returns and other specified financial information of
       President Donald J. Trump. Committee Republicans continue to block our requests for
       this Committee to exercise its authority under Section 6103 of the Internal Revenue Code
       to obtain, examine, and make available to the public President Trump's federal tax
       returns.

       This Committee has broad jurisdiction over a variety of laws that affect the lives of
       millions of Americans, including the federal tax law. The President and Congressional
       Republicans have been very vocal regarding their desire to enact comprehensive tax
       reform this Congress. Committee Democrats believe that it is imperative for the public to
       know and understand how such tax reform will benefit the President, his 564 financial
       positions in domestic and foreign companies, and his self-reported net worth of more than
       $10 billion.

       ***
       Tax returns provide the clearest picture of a president's financial health, including how
       much he earns, how much tax he pays, his sources of income (e.g., capital gains, dividend
       income, and certain business income), the size of his deductions, whether he makes
       charitable contributions, and whether he uses tax shelters, loopholes, or other special-
       interest provisions to his advantage. All of these items are critical in order for the public
       to gain a more complete understanding of how tax reform will benefit President Trump
       and his vast business empire.

       If ever there was a president with respect to which this Committee should exercise its
       Section 6103 statutory authority to obtain individual tax returns, President Trump is the
       one. A president with a vast domestic and international business empire. A president who
       has rebuked over 40 years of tradition and refused to release his individual tax returns to

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       the public. A president who will negotiate and ultimately may sign comprehensive tax
       reform into law. A president who is not the average American--he has assets, business
       interests, and foreign entanglements that far surpass the average taxpayer. . . . Hence,
       Committee Democrats remain steadfast in our pursuit to have his individual tax returns
       disclosed to the public.

       ***
       Starting in February, Committee Democrats began pressing Committee Republicans to
       use the authority under Section 6103 to obtain President Trump's tax returns and make
       them available to the public. Committee Democrats have sent letters urging, and offered
       amendments to force, the Chairman to obtain President Trump's tax returns for review by
       the Committee.

       ** *
       Procedurally, upon submission to the House, the tax return and return information would
       become available to the public.

H.R. Rep. No. 115-73 (Mar. 30, 2017), Resolution of Inquiry Directing the Secretary of the
Treasury to Provide to the House of Representatives the Tax Returns and other Specified
Financial Information of President Donald J. Trump, Adverse Report together with Dissenting
Views, https://www.congress.gov/congressional-report/ 115th-congress/house-report/73; see also
H.R. Rep. No. 115-309 (Sept. 14, 2017), Resolution of Inquiry Directing the Secretary of the
Treasury to Provide to the House of Representatives the Tax Return Information of President
Donald J. Trump as Well as the Tax Returns of Each Business Entity Disclosed by Donald J.
Trump on His Office of Government Ethics Form 278e, Adverse Report with Dissenting Views,
https ://www.congress.gov/congressional-report/ 11 Sth-congress/house-report/309/ l, https ://gop-
wa ysandmeans .house.gov/event/markup-h-res-479/.


Resolution Offered by Rep. Joe Crowley (D-NY) (Mar. 15, 2017)

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to Congress and the American people.

       ***
       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election understand the President's financial ties to the Russian
       Federation and Russian citizens, including debts owed and whether he shares any
       partnership interests, equity interests, joint ventures or licensing agreements with Russia
       or Russians;

        ** *




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       Whereas, the American people have the right to know whether or not their President is
       operating under conflicts of interest related to international affairs, tax reform,
       government contracts, or otherwise: Now, therefore, be it:

       Resolved. That the House of Representatives shall--

       I. Immediately request the tax return information of Donald J. Trump for tax years 2006
       through 2015 for review in closed executive session by the Committee on Ways and
       Means, as provided under Section 6103 of the Internal Revenue Code, and vote to report
       the information therein to the full House of Representatives.

       2. Support transparency in government and the longstanding tradition of Presidents and
       Presidential candidates disclosing their tax returns."

163 Cong. Rec. H2068 ( daily ed. Mar. 15, 2017) (statement of Rep. Crowley),
https://www .congress.gov/congressional-record/20 I 7/03/ 15/house-section/article/H2068-l.


Minority Leader Nancy Pelosi (Mar. 16, 2017)

       The Deflector-in-Chiefs desperation demands answer to our original question, the one I
       ask almost every day: What is Russia's political, personal, and financial grip on the
       Trump Administration? What do the Russians have on President Trump? They have
       stonewalled over I 00 letters from House Democrats requesting disclosure and
       transparency on his ties to Russia, his conflicts of interest, and other Administration
       actions.

       You have heard me say before: this has an impact on our national security. What do the
       Russians have on him that he should flirt with the idea of weakening sanctions on Russia,
       undermining NATO and Europe? Secondly, undermining and questioning the value of
       the New ST ART Treaty. Also, praising Putin at the expense of the greatness of America.
       What is it that they have on him? Show us your tax credits - your tax deduction -
                                                                                       a
       returns. Every - they did do something the other day, which was curious, to do transom
       report. Who knows where that came from. What we want to see are the President's tax
       returns in the same manner that every President and candidate for President - nominee of
       the party for President has done since Nixon, but, of course, that was demanded, but then
       followed through with wonderful President Gerald Ford. So, if the President wants to
       strengthen our security, he should come clean with the American people.

Press Conference, Minority Leader Nancy Pelosi (Mar. 16, 2017),
https://www .speaker.gov/newsroorn/31617 /.


Resolution Offered by Rep. Jared Polis {D-CO) (Mar. 21, 2017)

       Whereas, tax returns provide an important baseline disclosure because they contain
       highly instructive information including whether the candidate can be influenced by
       foreign entities and reveal any conflicts of interest;

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      ***
      Whereas, disclosure of the President's tax returns is important towards investigating
      Russian influence in the 2016 election, understanding the President's financial ties to the
      Russian Federation and Russian citizens, including debts owed and whether he shares any
      partnership interests, equity interests, joint ventures, or licensing agreements with Russia
      or Russian nationals, formally or informally associated with Vladmir Putin;

       ***
      Whereas, the American people have the right to know whether or not their President is
      operating under conflicts of interest related to international affairs, tax reform,
      government contracts, or otherwise:

       Now, therefore, be it resolved that the House of Representatives shall:

       One, immediately request the tax return information of Donald J. Trump for tax years
       2006 through 2015 for review in closed executive session by the Committee on Ways and
       Means, as provided under section 6103 of the Internal Revenue Code, and vote to report
       the information therein to the full House of Representatives;

       Two, support transparency in government and the longstanding tradition of Presidents
       and Presidential candidates disclosing their tax returns.

163 Cong. Rec. H2308 (daily ed. Mar. 21, 2017) (statement of Rep. Polis),
https://www .congress.gov/congressional-record/2017/03/22/house-section/article/H2308-1.


Minority Leader Nancy Pelosi (Mar. 28, 2017)

       Since Gerald Ford was President, every candidate for President, every nominee of a
       major party, every candidate for President of the United States, Democrat and
       Republican, has released their income tax returns out of respect for the American people-
       -out of respect for the American people. Week in and week out--in fact, sometimes day in
       and day out--in committee as well as on the floor, the Republicans have kept the
       President's income tax returns private when the public has a right to know that, that the
       public has always known that about every President since Gerald Ford--in fact, since
       Richard Nixon; although, in his case, it wasn't voluntary.

163 Cong. Rec. H2498 (daily ed. Mar. 28, 2017) (statement of Rep. Pelosi),
https://www.congress.gov/congressional-record/2017/3/28/house-section/article/H2489- l.


Minority Leader Nancy Pelosi (Apr. 5, 2017)

       What is President Trump hiding that he refuses to release his taxes to the American
       people - even as an overwhelming 74 percent demand he release them? The disturbing



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      confl.icts of interests, revelations of shady dealings, and Trump's deep ties to Putin's
      Russia must be the reason.

      ***
      But week after week, Republicans have repeatedly voted to help President Trump
      stonewall the American people - complicit in keeping President Trump's taxes and
      finances hidden.

      That is why House Democrats, led by Congresswoman Anna Eshoo, filed a discharge
      petition today to #DemandAVote to require President Donald Trump to disclose his tax
      returns, so the American people can see for themselves the extent of his financial
      interests, and whether they are influencing his policy decisions toward Russia, on tax
      reform and other issues.

Minority Leader Nancy Pelosi, Blog Post, #DemandAVote: House Democrats Launch Discharge
Petition to Release President Donald Trump's Tax Returns (Apr. 5, 2017),
https://www.speaker.gov/newsroom/demandavote-house-democrats-launch-discharge-petition-
to-release-president-donald-trumps-tax-returns/.


Minority Leader Nancy Pelosi (Apr. 5, 2017)

       As you know, every President since Gerald Ford - actually, every nominee on both sides
       of the aisle since then has released their tax returns. So the history of it is important to
       American people. It isn't as if the tax returns tell the whole story but they are a key that
       opens the door to so much information.

       We're especially concerned about any information that might show any connection -
       Russian connection, Chinese connection, in terms of business interests of the Trump
       organization to any of these countries. It's really a very important thing.

       At a time when they are saying, we don't want to see the President's tax return ... they
       now say, 'we have to protect the President's privacy.'

       It's not a right to privacy that the President has. He's the President of the United States
       there is a question about a Russia connection politically, personally, financially to the
       President, there's concerns about recent actions by the Chinese government, in relation to
       the Trump Organization. There are plenty of reasons why we need this key to open the
       door to the information we need to connect the dots and if they have nothing to fear, then
       what are they afraid of.

Press Conference, Minority Leader Nancy Pelosi, Demanding a Vote Requiring President Trump
to Release Tax Returns (Apr. 5, 2017), https://www .speaker.gov/newsroom/4517/.




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Ranking Member Richard Neal (Apr. 5, 2017)

       This is not about the law, this is about custom and practice. It's a settled tradition and as
       I noted by using the word earlier, about begrudges - candidates reach the level of
       expectation that they're supposed to release their tax forms. rm not aware of any of the
       Presidents that have been cited who ever publicly suggested that they thought it was an
       invasion of privacy.

Press Conference, Statement by Ranking Member Richard Neal (Apr. 5, 2017),
https://www.speaker.gov/newsroom/4517/.


Rep. David Cicilline (D-RI) (Apr. 5, 2017)

       And this is a very simple idea in that the President's ability to lead this country is directly
       undermined by the questions which continue to rise about his potential conflicts of
       interest, and whether or not he's making decisions in the best interest of the American
       people, or in his own personal or financial best interest. One way to get at that question
       is a simple release of his tax returns, a tradition which has been a tradition of every
       president in recent history. His refusal to do that, and sadly the Republicans' refusal so
       far to be part of this effort is disappointing, but we're not going to stop. This is
       something the American people are demanding so that they can have a sense of what
       those conflicts might be, and we're going to use every avenue we can to continue to press
       until we're successful in persuading or requiring the President to share those with the
       American people.

Press Conference, Statement by Rep. David Cicilline (D-RI) (Apr. 5, 2017),
https://www.speaker.gov/newsroom/4517/.


Rep. John Sarbanes (D-MD) (Apr. 5, 2017)

       I just want to thank my colleagues and Anna for their efforts on this issue, which is going
       to be continuous. We're not going to let up. When you talk to people out in the country
       - as everybody here has said- there is real anxiety on the part of Americans about
       whether the President may have some divided loyalty - whether when he goes to make a
       decision that is supposed to be on behalf of the public. There are some other concerns of
       interests he has competing with that.

       This is the highest office in the land. The public trust is placed in this office. That is the
       expectation of 330 million Americans - that you will carry out that office, recognizing
       the public trust that is placed in it.

       And Americans just want to know that when the President is making important decisions
       on domestic policy and on foreign policy, that he doesn't have divided loyalties. This is
       nagging away at people. And he can come clean if he provides his tax returns, which is
       the first important baseline step in being transparent. That will do a lot to put that anxiety


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       to rest. But, the fact that he won't release the tax returns, I think, is making a lot of
       Americans nervous.

Press Conference, Statement by Rep. John Sarbanes (D-MD) (Apr. 5, 2017),
https://www .speaker.gov/newsroom/4517/.


Minority Leader Nancy Pelosi (Apr. 6, 2017)

       Republicans will sell your most private information, your most private information, but
       they refuse to reveal the President's tax returns, something every President since Gerald
       Ford has done, and indeed every nominee of the other party has done.

       And there is a vital interest in the President's tax returns. Republicans are desperate,
       again, to keep them secret. What is it that they are afraid of? Why don't they have that
       key that 74 percent of the American people want us to unlock that door to see where it
       leads?

       If it's all okay, they have nothing to be afraid of. But we think that it will show us some
       connection that will be useful in the investigation of what do the Russians have on
       Donald Trump politically, personally, and financially.

Press Conference, Minority Leader Nancy Pelosi (Apr. 6, 2017),
https://www.speaker.gov/newsroom/4617-4/.


Rep. Hakeem Jeffries (D-NY) (Apr. 7, 2017)

       Unfortunately, Donald Trump sees things differently. As we approach tax day, it's
       important to remember that every President since Gerald Ford, Democrats and
       Republicans, have released their tax returns to the American people. Before the election,
       Donald Trump repeatedly promised to release his tax returns, just like Jimmy Carter,
       Ronald Reagan, George H.W. Bush, Bill Clinton, George W. Bush and Barack Obama
       before him. But as President, Donald Trump has broken this promise.

       Is he hiding something from the American people? I certainly hope not. Here's what I
       do know. The American people deserve an answer to that question. The tax return issue
       is about fairness. It's about being straight with the American people. It's about playing
       by the rules.

       There is a cloud of uncertainty hanging over the White House when it comes to our
       President. He came to Washington on a promise to drain the swamp. But instead, by
       failing to keep his word and release his tax returns, Donald Trump is a living, breathing
       conflict of interest.

       ***


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      This is not a Democratic issue or a Republican issue. This is an American issue. Our
      Democracy was attacked. The release of the President's tax returns will help the
      American people better understand the extent of Trump's financial ties to Putin's Russia.
      The American people have a right to know whether financial conflicts of interest exist
      between the President of the United States and a hostile foreign power.

      The American people have a right to know whether the decisions being made by
      President Trump are in the best interest of America, or are benefiting other countries and
      corporations with whom he has a business relationship. The American people have a
      right to know whose side the President is on. His tax returns will help provide the
      information necessary to figure that out.

Press Conference, Congressman Hakeem Jeffries Delivers Weekly Democratic Address (Apr. 7,
2017), https ://www.speaker.gov/newsroom/congressman-hakeem-jeffries-del ivers-weekl y-
democratic-address/.


Minority Leader Nancy Pelosi (Apr. 17, 2017)

       What are President Trump and the Republican Congress hiding? Every President since
       Gerald Ford, Democrat and Republican, has released his tax returns to the public.
       Despite the history, despite his own promises, President Trump and Republicans in
       Congress are desperate to keep the American people in the dark.

       Who does President Trump owe? America needs to know. All roads lead back to the
       President's tax returns - and the light they can shine on his actions and the Trump-Russia
       connection. Releasing the President's tax returns is vital for our national security and our
       democracy.

Press Release, Minority Leader Nancy Pelosi, Statement on Tax Day (Apr. 17, 2017),
https://www .speaker.gov/newsroom/41717/.


Rep. Ben Ray Lujan (D-NM) (Apr. 21, 2017)

       The President has done everything possible to distract and mislead the American people
       about his connection to Russia and his truly unprecedented web of conflicts.

       He has refused to divest his business ties or release his tax returns to the American people
       so they can understand his conflicts of interest and get to the truth.

Press Conference, Congressman Ben Ray Lujan Delivers Weekly Democratic Address (Apr. 21,
2017), https ://www.speaker.gov/newsroom/congressman-ben-ray-1 uj an-delivers-weekly-
democratic-address/.




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Minority Leader Nancy Pelosi (Apr. 23, 2017)

       The infrastructure bill is one of the biggest secrets in Washington, D.C., second only to
       the president not showing us his tax returns.

       We need to see those so we can see how his tax policy will affect his own tax situation.
       We need to see them so we can see what is the hold that the Russians have on him
       politically, financially, and personally.

Meet the Press (NBC television broadcast Apr. 23, 2017), https://www .nbcnews.com/meet-the-
press/meet-press-april-23-20 l 7-n749866, http://www.cq.com/doc/newsmakertranscripts-
5087573, https://www .speaker.gov/newsroom/42317/.


Rep. Lloyd Doggett (D-TX) (Apr. 26, 2017)

       Without an end to the Republican cover-up of Trump's tax returns, we cannot determine
       whether this is mostly just more self-enrichment for the Trump family. Trump talks like a
       populist but governs like a plutocrat. Like the near trillion dollar tax cut in the failed
       health care bill that he endorsed, Trump's tax plan fills the coffers of giant corporations
       and lines the pockets of the superrich.

Press Release, Rep. Lloyd Doggett (D-TX), Neal, Doggett Statements on President Trump's Tax
Proposal (Apr. 26, 2017), https://waysandmeans.house.gov/media-center/press-releases/neal-
doggett-statements-president-trump-s-tax-proposal.


Rep. John Lewis (D-GA) (Apr. 26, 2017)

       This afternoon, the Administration released its principles for tax reform. I must express
       my concern about beginning tax reform when the public has no idea how the proposal
       will personally benefit the First Family.

       On April 15th, thousands of Americans took to the streets and demanded transparency,
       truth, and accountability. They know that there is no provision in the Internal Revenue
       Code that prevents him from releasing his tax returns. Failure to meet this standard
       presents a dangerous and slippery slope for policy makers. The American people expect
       and deserve better.

Press Release, Rep. John Lewis (D-GA), Ranking Member Lewis Opening Statement at
Oversight Subcommittee Hearing on 2017 Tax Filing Season (Apr. 26, 2017),
https://waysandmeans.house.gov/media-center/press-releases/ranking-member-lewis-opening-
statement-oversight-subcommittee-hearing-5.




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Minority Leader Nancy Pelosi (May 15, 2017)

       One of the concerns that we have is that Russia is an adversary to the United States. And
       yet, when the president became president-elect, he was putting Putin on a pedestal and he
       was questioning whether we should even have sanctions against Russia for their
       aggression in Ukraine and Crimea, et cetera, and questioning the -- undermining the
       relationship we have with NATO, which is our transatlantic friendship for security. And
       it was like, why on Earth is he undermining our allies and praising Putin?

       And so that's one of the things that we want to see about the investigation, because it
       relates to if there have -- as I said, financial. What is the financial connection? Political.
       They did- it's an absolute fact -- disrupt our election by hacking and leaking. The
       question is, was there collusion? And, third, personally. What is it that is making him do
       all these special things for the Russians?

       You only know that if you're basing it on fact and not just rumor and hearsay if you have
       the investigation. And that's why we're saying, let's just find out the truth. Let the chips
       fall where they may. And if he has nothing to hide, he shouldn't be opposing, nor should
       my Republican colleagues in Congress, be opposing the release of his tax returns, any of
       the investigation into other aspects of the Trump-Russia connection. And that's why
       when something like this comes up, it's like predictable, almost, sadly.

CNN Town Hall (CNN television broadcast May 15, 2017),
http://transcripts.cnn.comffRANSCRIPTS/ 1705/ l 5/se.O I .html.


Minority Leader Nancy Pelosi (May 16, 2017)

       The question is what is the connection? And that requires investigation to get the facts
       that proves the case, or not. What are the Republicans and the president afraid of? The
       truth.

       So, when it comes to our national security, here he is putting Putin on a pedestal,
       undermining NATO, questioning whether we should even have sanctions vis-a-vis Russia
       in terms of their aggression in Europe. And that is not in our national security interest.
       That is undermining our Trans-Atlantic pillar of strength for us. But casual about it and
       putting -- so what do the Russians have on him politically, personally, financially?

       Go to the next step. We have a chance to see his tax returns. Show us your tax returns so
       we can see what the connection is between you and Russia. And, by the way, the
       connection between yourself and (inaudible) and the cost to the average person in our
       country.

       So, this is about our economy as well. And then of course as I mentioned about the
       security of our democracy. So, this is intrinsic. It's fundamental. It's systemic. It's very
       important that we get to the bottom of it.

       And there is so much evidence....

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Transcript, House Minority Leader Pelosi, Remarks at Center for American Progress Forum
(May 16, 2017), http://www.cq.com/doc/newsmakertranscripts-5 l 02881,
https://www.youtube.com/watch?v=WoMAnFNyV94.


Resolution Offered by Rep. Bill Pascrell (D-NJ) (May 16, 2017)

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to Congress and the American people.

       ***
       Whereas, tax returns provide an important baseline disclosure because they contain
       highly instructive information including whether the candidate paid taxes, what they own,
       what they have borrowed and from whom, whether they have made any charitable
       donations, and whether they have taken advantage of tax loopholes;

       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election understand the President's financial ties to the Russian
       Federation and Russian citizens, including debts owed and whether he shares any
       partnership interests, equity interests, joint ventures or licensing agreements with Russia
       or Russians;

       ***
       Whereas, the President's tax returns would show us whether he has foreign bank accounts
       and how much profit he receives from his ownership in myriad partnerships;

       ***
       Whereas, the Chairmen of the Ways and Means Committee, Joint Committee on
       Taxation, and Senate Finance Committee have the authority to request the President's tax
       returns under Section 6103 of the tax code;

       ***
       Whereas, the American people have the right to know whether or not their President is
       operating under conflicts of interest related to international affairs, tax reform,
       government contracts, or otherwise: Now, therefore, be it:

       Resolved, That the House of Representatives shall--

       I. ImmediateIy request the tax return information of Donald J. Trump for tax years 2006
       through 2015 for review in closed executive session by the Committee on Ways and
       Means, as provided under Section 6103 of the Internal Revenue Code, and vote to report
       the information therein to the full House of Representatives




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       2. Support transparency in government and the longstanding tradition of Presidents and
       Presidential candidates disclosing their tax returns.

163 Cong. Rec. H4212-13 (daily ed. May 16, 2017) (statement of Rep. Pascrell),
https://www .congress.gov/congressional-record/20 I 7/05/ 16/house-section/article/H4212-l.


Minority Leader Nancy Pelosi (May 18, 2017)

       But this is something that has foreign intrigue, it has issues that relate to undermining our
       democracy by interference in our election. It's about, "Show us your tax returns so we
       can see what public policy is regarding that, and do you have a Russian connection, Mr.
       President, in your dealings?" And it's very serious.

       So in order for us to move forward in a way where we're moving forward with the
       American people, it's very important that we do it based on the facts. There is reason to
       believe that the President was engaged in some very inappropriate, for the moment,
       activity. But until you have the facts that you can present to the public in the public
       domain so the American people are moving with you at the same time, I don't think that
       our democracy is well served.

Press Conference, Minority Leader Nancy Pelosi (May 18, 2017),
https://www.speaker.gov/newsroom/5 l 8 l 7-5/.


Resolution Offered by Rep. Linda Sanchez {D-CA) (May 24, 2017)

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to Congress and the American people.

       ***
       Whereas, tax returns provide an important baseline of reasonable information including
       whether the President paid taxes, ownership interests, charitable donations made, and
       whether tax deductions have been exploited;

       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election understand the President's financial ties to the Russian
       Federation and Russian citizens, including debts owed and whether he shares any
       partnership interests, equity interests, joint ventures or licensing agreements with Russia
       or Russians;

       ***
       Whereas, the President's tax returns would show us whether he has foreign bank accounts
       and how much profit he receives from his ownership in myriad partnerships;

       ***
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      Whereas, the Chairmen of the Ways and Means Committee, Joint Committee on
      Taxation, and Senate Finance Committee have the authority to request the President's tax
      returns under Section 6103 of the tax code;

       ***
       Whereas, the American people have the right to know whether or not their President is
       operating under conflicts of interest related to international affairs, tax reform,
       government contracts, or otherwise: Now, therefore, be it:

       Resolved, That the House of Representatives shall--

       I. Immediately request the tax return information of Donald J. Trump for tax years 2006
       through 2015 for review in closed executive session by the Committee on Ways and
       Means, as provided under Section 6103 of the Internal Revenue Code, and vote to report
       the information therein to the full House of Representatives

       2. Support transparency in government and the longstanding tradition of Presidents and
       Presidential candidates disclosing their tax returns.

163 Cong. Rec. H4523-25 (daily ed. May 24, 2017) (statement of Rep. Sanchez),
https://www .congress.gov/congressional-record/2017/5/24/house-section/article/h4523-l.


Minority Leader Nancy Pelosi (June 2, 2017)

       And speaking of taxes, I think that the decision the President made on the Paris accord, I
       think that the budget that he has put forth, again, really speaks further to the fact that he
       should show us his tax returns. It's very important that we see his tax returns. It relates
       to Russia. What do the Russians have on Donald Trump, politically, personally, and
       financially? And he won't show us his tax returns, to give us some [,] maybe that would
       clear up the issue or maybe it will be a path to some other questions. So show us your tax
       returns.

       We talk about lifting the debt ceiling. We talk about tax returns. We do know that what
       he proposed, what he was talking about before would have given him a tax break of $30
       million on the year that he has revealed his tax return. A tax break of $30 million. Show
       us your tax returns.

Press Conference, Minority Leader Nancy Pelosi (June 2, 2017),
https://www.speaker.gov/newsroom/6217-4/.


Minority Leader Nancy Pelosi (June 6, 2017)

       I think we have to remove all doubt as the impact of Russians in our life. And I think it's
       important the American people to know what did Russians have on Donald Trump
       politically, financially, and personally, that he is standing in the way of this legitimate

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      investigation as to the Russian impact on our election and to prevent them from doing it
      again.

      ***
      [T]he American people have a right to know the truth. And why would the Republicans
      stand in the way of the truth? Why can't we see his tax returns?

New Day (CNN television broadcast June 6, 2017),
http://transcripts.cnn.com/TRANSCRIPTS/ 1706/06/nday.03 .html.


Resolution Offered by Rep. Michael Capuano (D·MA) (June 7, 2017)

      Expressing the sense of the House of Representatives that the President shall immediately
      disclose his tax return information to Congress and the American people.

       ***
       Whereas, tax returns provide an important baseline of reasonable information including
       whether the President paid taxes, ownership interests, charitable donations made, and
       whether tax deductions have been exploited;

       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election understand the President's financial ties to the Russian
       Federation and Russian citizens, including debts owed and whether he shares any
       partnership interests, equity interests, joint ventures or licensing agreements with Russia
       or Russians;

       ***
       Whereas, the President's tax returns would show us whether he has foreign bank accounts
       and how much profit he receives from his ownership in myriad partnerships;

       * **

       Whereas, the Chairmen of the Ways and Means Committee, Joint Committee on
       Taxation, and Senate Finance Committee have the authority to request the President's tax
       returns under Section 6103 of the tax code;

       ***
       Whereas, the American people have the right to know whether or not their President is
       operating under conflicts of interest related to international affairs, tax reform,
       government contracts, or otherwise: Now, therefore, be it:

       Resolved, That the House of Representatives shall--



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       1. Immediately request the tax return information of Donald J. Trump for tax years 2006
       through 2015 for review in closed executive session by the Committee on Ways and
       Means, as provided under Section 6103 of the Internal Revenue Code, and vote to report
       the information therein to the full House of Representatives

       2. Support transparency in government and the longstanding tradition of Presidents and
       Presidential candidates disclosing their tax returns.

163 Cong. Rec. H4684 (daily ed. June 7, 2017), https://www.congress.gov/congressional-
record/2017 /06/07/house-section/article/H4684-1.


Rep. Michael Capuano (D-MA) (June 7, 2017)

       The investigations are ongoing. At some point, it is unquestioned that the President's tax
       returns will become relevant to what the FBI is doing. It is only a matter of time.

       For the integrity of the House, for the dignity of the House, I believe firmly that we
       should exercise the law that the Congress put in place itself to do our own due diligent
       investigation and not just simply sit on our hands while others do our work for us.

       These documents will become public, and when they do, regardless of what they show, I
       believe firmly it will reflect negatively on this House for not having done our duty, for
       having shirked our responsibilities. That is why I believe this is a privilege of the House.
       That is why I believe this House should take this action.

       ***
       There aren't any Americans that don't believe they have a right to know that their
       President has not been subject to undue influence. That is all this does. It draws no
       conclusion from it, and it allows the majority party to call on it to make the
       determination; not me, but the majority party; the chair of the Ways and Means
       Committee.

       That is why I offered this resolution. That is why I think this resolution is going to
       continue to be offered, and, at some point, the House is going to do it. I don't know why
       Members of the House want to drag this out and pretend that somehow you are going to
       be able to avoid it. You are not. It is going to happen.

163 Cong. Rec. H4684-86 (daily ed. June 7, 2017) (statement of Rep. Capuano),
https://www.congress.gov/congressional-record/2017/06/07/house-section/article/H4684-l.


Minority Leader Nancy Pelosi (June 9, 2017)

       Well, I think he abused power. I think there is no question he abused power. Whether he
       obstructed justice remains for the facts to come forward, and that is what we want: the



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       facts. And I hope that our Republican colleagues will not continue to stand in the way of
       our getting the facts.

       Also, we'd like to see his tax returns, because that will, again, help connect the dots here.
       And, again, maybe it will all be exculpatory, but let's find that out. Right now we have to
       remove all doubt about the integrity of our government.

Press Conference, Minority Leader Nancy Pelosi (June 9, 2017),
https://www.speaker.gov/newsroom/61217-2/.


Rep. Lloyd Doggett {D-TX) (June 13, 2017)

       Today, Congressman Lloyd Doggett (D-TX), Ranking Member of the Ways & means
       Tax Policy Subcommittee, is offering a "privileged resolution" that would require the
       House of Representatives to immediately request the President's tax returns and those of
       his businesses. His resolution, which must be considered within two legislative days,
       would also postpone consideration of any tax reform legislation until the President's tax
       returns are obtained.

       The House Ways and Means Committee has the authority to obtain the President's tax
       returns under section 6103 of the Tax Code. If this "privileged resolution" were
       approved, it would launch the process of reviewing those tax returns in an Executive
       Session of the Ways and Means Committee, which could vote to release the returns to the
       public.

       Rep. Doggett has filed three separate amendments in the Ways and Means Committee to
       obtain President Trump's tax returns - on February 14, March 8, and March 28. The
       Committee voted all three times along party lines to continue to cover-up the President's
       tax returns, and the House has refused nine times to act on President Trump's tax returns.

       ***
       RESOLUTION

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to the House of Representatives and the American
       people.

       ***
       Whereas, disclosure of the President's tax returns could help those investigating Russian
       influence in the 2016 election better understand the President's financial ties to the
       Russian Federation, Russian businesses, and Russian individuals;

       Whereas, after breaking his pledge to make his tax returns available, President Trump
       instead presented a one page letter from a law firm giving him a clean bill of health on
       any business dealings with Russians, but failed to note that the very same law firm

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       boasted of the "prestigious honor" of being named "Russia Law Firm of the Year" for
       2016;

       ***
       Now, therefore, be it:

       Resolved, That the House of Representatives shall-

           1. Immediately request the tax return and return information of Donald J. Trump for
              tax years 2006 through 2015, as provided under section 6103 of the Internal
              Revenue Code of 1986, as well as the tax return (and return information with
              respect to the President's businesses) of each business entity disclosed by Donald
              J. Trump on his Office of Government Ethics Form 278e, specifically each
              corporation and each partnership (within the meaning of subchapter K of chapter
               1 of the Internal Revenue Code of 1986) where he is listed as an officer, director,
              or equivalent, or exercises working control; and

           2. Postpone consideration of tax reform legislation until the elected Representatives
              of the .American people in this House have obtained President Trump's tax returns
              and return information to ascertain how any changes to the tax code might
              financially benefit the President.

Press Release, Rep. Lloyd Doggett (D-TX), Privileged Resolution Would Require Trump Tax
Returns Before Tax Reform Consideration (June 13, 2017), https://doggett.house.gov/media-
center/press-releases/privileged-resolution-would-require-trump-tax-returns-tax-reform;
privileged resolution available at https://www.congress.gov/congressional-
record/2017/06/ l 3/house-section/article/H4898-1, https://www .congress.gov/congressional-
record/2017/6/21/house-section/article/h5013-1.


Minority Leader Nancy Pelosi (June 20, 2017)

       As Speaker Ryan moves to the question and answer portion of his 'major' tax reform
       speech, we have some questions: Where are President Trump's tax returns? What
       happened to 'At some point I' 11 release it'?

       By blatantly refusing to reveal his tax returns, the President fails to fulfill his promise to
       the American people, honor tradition, and be transparent about his financial history -
       despite the fact that 74 percent of Americans want Presidents to disclose their tax returns.
       House Republicans have voted 9 times to keep President Trump's tax returns secret.

       If Speaker Ryan and House Republicans respect the oath they took to support and defend
       the U.S. Constitution, they must stop the pointless distractions and demand transparency
       and truth from the White House. American taxpayers deserve to know that the President
       of the United States is playing by the rules and putting the people's business before the
       Trump family business.


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Minority Leader Nancy Pelosi, Blog Post, Where are President Trump's Tax Retums? (June 20,
2017), https://www .speaker.gov/newsroom/where-are-president-trumps-tax-returns/.


Minority Leader Nancy Pelosi (July 13, 2017)

       Republicans ... won't join us in the release of the President's tax returns, which could be
       very instructive in terms of any connection to Russia. Why should this President of all
       Presidents and all candidates for President in the two major parties, since Gerald Ford,
       not release his returns so the American people can know?

Press Conference, Minority Leader Nancy Pelosi (July 13, 2017),
https://www.speaker.gov/newsroom/71317-8/.


Rep. Bill Pascrell (D-NJ) (July 14, 2017)

       On February the 1st, I wrote a letter to the chairman of the committee which I participate
       in, and that is the Ways and Means Committee Chairman Kevin Brady. In that letter, I
       asked him to use his existing authority to obtain President Trump's tax returns for review
       by our committee.

       And I would say, from the get-go here, that a lot of the questions that are being asked
       today and have been asked in the past could have been avoided if the president of the
       United States had followed the ethics commission and -- to divest himself of all of his
       holdings and assets. President chose -- chose not to do that.

       And the more we get into 2017, the more we understand how the tax returns are critical.
       He could have avoided all this by divesting himself, but the deals that have been made
       just at the -- during the time that he's been the president is a reflection.

       Every president -- and this has nothing to do with party affiliation, which I said to Kevin
       Brady in February of this year -- every president must have a clean when he goes into
       that office and raises his hand to be sworn, so that he can be objective in his decisions.
       We have no assurances of that right now, and we are not going to simply sit back and
       reflect on the good of his word. I'm not. I don't think many Americans are.

       And members of Congress, specifically the tax-writing committees, currently have
       authority in the tax code to get the president's tax returns, to examine his conflicts of
       interest.

Press Conference, Statement by Rep. Bill Pascrell (D-NJ) (July 14, 2017),
http://www.cq.com/doc/newsmakertranscripts-5142259.




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Resolution Offered by Rep. David Cicilline (D-RI) (July 18, 2017)

       Expressing the sense of the House of Representatives that the President shall immediately
       disclose his tax return information to Congress and the American people.

       ** *
       Whereas, the chairmen of the Committee on Ways and Means, Joint Committee on
       Taxation, and the Committee on Finance have the authority to request the President's tax
       returns under section 6103 of the Internal Revenue Code of 1986;

       ***
       Whereas, without access to the President's tax returns, the American people cannot
       determine how much he will personally benefit from proposed changes to the Tax Code
       or from policy decisions he makes, nor can the American people fully understand the
       financial interests and motivations of the President;

       ***
       Whereas, disclosure of the President's tax returns would help those investigating Russian
       interference in the 2016 election and assist them in better understanding the President's
       financial ties to the Russian Federation, Russian businesses, and Russian individuals;

       ** *
       Resolved, That the House of Representatives shall--

       I. Immediately request the tax return and return information of Donald J. Trump for tax
       years 2006 through 2015, as provided under section 6103 of the Internal Revenue Code
       of 1986, as well as the tax return, and return information with respect to the President's
       businesses, of each business entity disclosed by Donald J. Trump on his Office of
       Government Ethics Form 278e, specifically each corporation and each partnership, within
       the meaning of subchapter K of chapter 1 of the Internal Revenue Code of 1986, where
       he is listed as an officer, director, or equivalent, or exercises working control; and

       2. Postpone consideration of tax reform legislation until the elected Representatives of
       the American people in this House have obtained President Trump's tax returns and
       return information to ascertain how any changes to the Tax Code might financially
       benefit the President.

163 Cong. Rec. H5941-42 (daily ed. July 18, 2017) (statement of Rep. Cicilline),
https://www.congress.gov/congressional-record/2017/7 / 18/house-section/article/h5941-1.




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House Resolution 479 (July 27, 2017)

       IN THE HOUSE OF REPRESENTATIVES

       July 27, 2017

       Mr. Pascrell (for himself and Mr. Crowley) submitted the following resolution; which
       was referred to the Committee on Ways and Means

       Of inquiry directing the Secretary of the Treasury to provide to the House of
       Representatives the tax return information of President Donald J. Trump as well as the
       tax returns of each business entity disclosed by Donald J. Trump on his Office of
       Government Ethics Form 278e.

       Resolved, That the Secretary of the Treasury is directed to furnish to the House of
       Representatives, not later than 14 days after the adoption of this resolution, the full tax
       returns of Donald J. Trump for tax years 2006 through 2016, if available, as well as the
       tax returns for such taxable years of each business entity disclosed by Donald J. Trump
       on his Office of Government Ethics Form 278e, specifically each business entity
       specified in section 2 of this resolution; and any supplemental information in the
       possession of the President relating to-

       ( 1) the amount of taxes paid by Mr. Trump and each such business entity with respect to
       such taxable years;

       (2) the debts of Mr. Trump and such business entities which are held by foreign
       governments or foreign companies;

       (3) the investments of Mr. Trump and such business entities which are in foreign
       countries or foreign enterprises;

       (4) Mr. Trump's personal and business profits received from foreign enterprises;

       (5) the amount of charitable giving claimed by Mr. Trump with respect to such taxable
       years; and

       (6) any use of tax shelters or other loopholes to reduce the amount of taxes owed.

       ***
H.R. Res. 4 79, 155th Cong. (2017), https://www .congress.gov/bill/ l l Sth-congress/house-
resolution/479.


Ranking Member Richard Neal (Sept. 7, 2017)

       Mr. Pascrell's resolution would direct the Treasury Secretary to provide the House with
       the personal and business tax returns and other financial information of President Trump.


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       Let me refresh everyone's memories on the facts here. Until recently, every President
       since Gerald Ford released their tax returns to the American public. President Gerald
       Ford released_a summary of his tax returns. President Jimmy Carter. President Ronald
       Reagan. President George H.W. Bush. President Bill Clinton. President George W. Bush.
       President Barack Obama.

       Republican and Democratic Presidents. They all released their tax returns to the
       American people.

       This is not a partisan issue. The reason for releasing this information is to avoid conflicts
       of interest. Tax returns include important information about income and charitable giving
       and business interests, among other things. And this information is important for the
       American people to have so they know that their President is always acting in their best
       interest.

       Therefore, I support my friend Mr. Pascrell's resolution. I believe it's in our country's
       best interest for our Presidents to release their tax returns.

H. Comm. on Ways & Means, Markup of H. Res. 479, 115th Cong., Opening Statement of
Ranking Member Neal (Sept. 7, 2017), https://waysandmeans.house.gov/media-center/press-
releases/ranking-member-neal-opening-statement-markup-hres-479.


Rep. Bill Pascrell {D-NJ) (Sept. 7, 2017)

       What we need to explore are the possibilities of conflicts of interest. This is not
       something we made up, this is provided by the law. It is a fishing expedition. Why?
       Because we don't have the conclusion. You don't get to the conclusion until you
       investigate, and we have that authority under the law. If you looked at the word, "under
       IRS audit" I want you to prove to me that he is still under audit.

H. Comm. on Ways & Means., Markup of H. Res. 479, 115th Cong., at 47:51 (Sept. 7, 2017)
(Statement of Rep. Pascrell), https://youtu.be/F2AyBERrEIY.


Minority Leader Nancy Pelosi (Apr. 17, 2018)

       While Americans file their taxes, Tax Day also serves as a bitter reminder that President
       Trump still refuses to show the public his tax returns. Hard-working families deserve to
       know how their president has padded his own pockets with a tax scam that inflicts such
       damage on the deficit and the future of Social Security and Medicare. As Republicans in
       Congress refuse to demand this basic measure of transparency and accountability from
       President Trump, we must ask: what does President Trump have to hide?

Press Release, Minority Leader Nancy Pelosi, Statement on Tax Day (Apr. 17, 2018),
https://www.speaker.gov/newsroom/41718-2/.



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Rep. Lloyd Doggett (D-TX) (Sept. 13, 2018)

       We of course cannot know whether the benefit for Trump will be bigly or just huge until
       we lift this cover up of the Trump tax returns. As the smoke continues to build with one
       revelation after another, there's greater need than ever to see what Trump may be hiding
       in those returns, the working papers to explain them, and those for the 500 business
       entities which stretch from Manhattan to Azerbaijan. Trump's tax returns relate directly
       to what is before us today.
H. Comm. on Ways & Means, Full Committee Markup for Tax Reform 2.0, 115th Cong., at
1:29:00 (Sept. 13, 2018) (Statement of Rep. Doggett), https://youtu.be/SmtV7Jnx6PY.


Rep. Lloyd Doggett (D-TX) (Sept. 13, 2018)

       The stench of corruption permeates this Administration, and it comes right from the top.
       This amendment is designed to end the Republican coveru-p of Trump's tax returns.
       While this amendment seeks to achieve the same result that I have sought with 5 prior
       attempts in this committee, it includes extensive new findings from some of the notable
       developments of recent months that make clear we are not only dealing with the self-
       described ''King of Debt," but someone who continues to act as if he were just King.

       Trump's tax returns relate directly to what is before us today. There is no issue this
       Committee could consider more important than the integrity of our tax code, and the faith
       that the American people have in our democracy. Trump has surrounded himself with
       convicted tax evaders - rich friends who have decided they are above the law, and that
       working people who can't afford fancy tax lawyers should have to pick up the slack.
       Even Richard Nixon invited the Joint Committee on Taxation to review his tax returns,
       explaining that "people have got to know whether or not their President is a crook."

       While this Committee has refused to do its job- white in this Congress instead of
       oversight, we have been overlooking Administration misconduct-the President's tax
       returns have in fact already been reviewed. That was a review that, amazingly, President
       Trump presented as his 'Good Housekeeping Seal of Approval 'to assure America he had
       no business dealings with the Russians.' It was a review of his tax returns by his personal
       law firm, which, of course, gave him a clean bill of health on any Russian connection-
       only months after it boasted of the 'prestigious honor' of being named 'Russia Law Firm'
       of the year. I am only asking that this Committee do for the American people what the
       'Russia Law Firm of the Year' has done for Mr. Trump.

       Before this Committee considers a dime of more tax breaks, we must obtain and review
       the President's tax returns. Any tax bill released should be accompanied by a line-by-line
       report of how much Trump, his family, and his companies will benefit from each one.

       His tax returns can help tell us whether he is putting America First, or Trump first, his
       family second, and Russian third.



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Press Release, Rep. Lloyd Doggett (D-TX), Rep. Doggett Offers Amendment to Secure Trump
Tax Returns, Meet the Nixon Standard (Sept. 13, 2018), https://doggett.house.gov/media-
center/press-releases/rep-doggett-offers-amendment-secure-trump-tax-returns-meet-nixon,
https://www.youtube.com/watch?v=6UuAmtMzs8E&feature=youtu.be.


Press Account Quoting Ranking Member Richard Neal (Oct. 3, 2018)
       "This has never happened before, so you want to be very meticulous."
Richard Rubin, Trump's Tax Rewms in the Spotlight if Democrats Capture the House, Wall St.
J., Oct. 3, 2018, https ://www.wsj.com/articles/tru mps-tax-returns-in-the-spotlight-i f-democrats-
capture-the-house-15 3 8575880.


Press Account Quoting Ranking Member Richard Neal (Oct. 12, 2018)

       "I think we would all be comfortable if this was done on a voluntary basis," Neal said.

       "If they would resist the overture then I think you could probably see a Jong and grinding
       court case," he added.

       ***
       "It is not cut and dry," Neal said, noting that there was still plenty of discussion ahead for
       how and when to request the returns officially.

       ***
       "Anticipate a long court case in the end," Neal said.

Lauren Fox, Leading Democrat on House Ways and Means would ask for Trump's tax returns,
CNN, Oct. 12, 2018, https://www .cnn.com/2018/ 10/ 12/politics/house-ways-mean-tax-returns-
richard-neal/index.html.


Press Account Quoting Minority Leader Nancy Pelosi (Oct. 10, 2018)

       Expect Democrats to immediately try to force President Trump to release his tax returns
       if they take back the House in November, Minority Leader Nancy Pelosi said
       Wednesday.

       Demanding the president's tax returns "is one of the first things we'd do - that's the
       easiest thing in the world. That's nothing," Pelosi told The Chronicle's editorial board in
       an hour-long interview.

John Wildermuth, Pelosi: Trump's tax returns are fair game if Democrats win House, S.F.
Chron., Oct. 11, 2018, https://www .sfchronicle.com/politics/article/Pelosi-Trump-s-tax-returns-
are-fair-game-if-13297954.php.

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Press Account Quoting Minority Leader Nancy Pelosi (Dec. 13, 2018)

       House Minority Leader Nancy Pelosi (D-Calif.) said Thursday that she expects a House
       committee to "take the first steps" toward obtaining President Trump's tax returns after
       Democrats take control of the chamber next month, but she cautioned that securing them
       is "a little more challenging than you might think."

       "There is popular demand for the Congress to request the president's tax returns," said
       Pelosi, who is likely to become House speaker. 'Tm sure the White House will resist, so
       the question is, 'Where do we go from there?"

John Wagner, Pelosi says she expects a House committee will 'take the first steps' toward
obtaining Trump's tax retums, Wash. Post, Dec. 13, 2018,
https ://www.washingtonpost.com/powerpost/pelosi-says-she-ex pects-a-house-commi ttee-will-
take-the-first-steps-toward-obtaining-trumps-tax-returns/2018/ l 2/ l 3/fbc02660-feec-1 l e8-862a-
b6a6f3ce8 l 99_story. html ?utm_term=.ebb 1d6c 1325c.


Press Account Quoting Spokesperson for Ranking Member Richard Neal (Jan. 2, 2019)

       Rep. Richard Neal (D-Mass.), who will be the new Ways and Means Committee
       chairman, wants to take some time to try to build a case with the public about why Trump
       ought to voluntarily release his tax filings, before tapping an obscure Jaw that allows the
       heads of Congress' tax committees to examine anyone's returns.

       "He wants to lay out a case about why presidents should be disclosing their tax returns
       before he formally forces him to do it," said Dan Rubin, a Neal spokesperson. Pulling the
       legal trigger may not come until February at the earliest.

       ***
       "He is a very policy-driven person, and I think he sees that if we break the glass and pull
       that alarm, you won't get anything done after that," said Rubin.

Brian Faler, lucoming Democratic tax clzairman won't make quick grab for Trump's returns,
Politico, Jan. 2, 2019, https://www .politico.com/story/2019/01/02/congress-trump-tax-returns-
richard-neal- l 056839, https://neal.house.gov/in-the-news/incoming-democratic-tax-chairman-
wont-make-quick-grab-trumps-returns.


Press Account Quoting Chairman Richard Neal (Jan. 23, 2019)

       The chairman of the House Ways and Means Committee, U.S. Rep. Richard Neal, D-
       Springfield, said Wednesday he plans to request President Trump's tax returns, but
       expects a drawn-out legal battle to result, and thus is choosing his words carefully on the
       matter.




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      "I plan to do it," Mr. Neal said in a visit to the Telegram & Gazette offices. "We are now
      in the midst of putting together the case. It will be a long and grinding legal case."

      ***
      Mr. Neal added: "I hope the president will voluntarily release his tax documents. I don't
      think that, given the conversation so far, there is any indication he intends to do that. I
      also think the public has reasonably come to expect that presidential candidates and
      aspirants release those documents. It's likely to end up in a court case."

      "We need to approach this gingerly and make sure the rhetoric that is used does not
      become a footnote to the court case."

      He said: "I've been meticulous about my choice of words, for good reason."

Mark Sullivan, Powerful Ways and Means chainnan Neal to pursue Trump's tax returns,
Telegram & Gazette, Jan. 23, 2019, https://www.telegram.com/news/20190123/powerful-ways•
and-means-chairman-neal-to-pursue-trumps-tax-returns, https://neal.house.gov/in-the-
news/powerful-ways-and-means-chairman-neal-pursue-trump-s-tax-returns.


Press Account Quoting Chairman Richard Neal (Jan. 24, 2019)

      House Ways and Means Chairman Richard E. Neal said Thursday he plans to approach
      the tricky topic of obtaining President Donald Trump's tax returns "methodically and
      judiciously."

       Neal said he started to have "preliminary conversations" about the issue after he was
       named chairman-designate on Dec. 20, before he formally assumed the position after the
       116th Congress began earlier this month.

      "One of the things you have to be mindful of is that this has to be a part of a carefully
      prepared and documented legal case," said Neal, D-Mass. "And it's not subject to just
      whim and the emotion of the moment."

       Added Neal: "This has to be prepared in accordance with staff, House counsel and an
       understanding that this is likely to become the basis of a long and arduous court case."

       ***
      "We're in this precarious period of time when the American people aren't quite sure of
      what to believe about many, many issues," Neal continued. "So again, methodically and
      judiciously we'll proceed."

Doug Sword, Neal: "Long and Arduous" Process to Get Trump's Tax Retums, CQ, Jan. 24,
2019, http://www.cq.com/doc/news-5449807.




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Speaker Nancy Pelosi (Feb. 7, 2019)

       I think, overwhelmingly, the public wants to see the President's tax returns. And so, they
       want to know the truth. They want to know the facts. And he has nothing to hide.

       I'll just tell you this and go on from there, because we have important work to do, and we
       have important judgments to make, and we need information to make those judgments.

       ***
       You have to be very, very careful if you go forward.

       As I said, we are in our first month. The committees have been appointed. They have
       organized. They are prioritizing their work and, in terms of the tax issue, it's not a
       question of just sending a letter. You have to do it in very careful way. And the
       chairman of the committee will be doing that.

       So, I know there's this impatience because people want to know, that answers the
       question, but we have to do it in a very careful way.

Press Conference, Speaker Nancy Pelosi (Feb. 7, 2019),
https ://www.speaker.gov/newsroom/2 719-2/.


Rep. Dan Kildee {0-MI) (Feb. 7, 2019)

       Well, the committee has a right to the returns. The law was written because it expected
       that a moment may occur where there's a public interest in having a tax return gained by
       the committee in order to evaluate it, or acquired by the committee for this kind of
       evaluation.

       What we need to do, and what the speaker said, and what Chairman Neal is absolutely
       doing is lay the record, lay the groundwork, make the justification to use this rarely used
       authority in order to make sure that we have a solid legal basis. So, today's hearing was
       very much focused on laying a legal foundation to explore what the law allows us to do,
       to understand that completely, to make sure that we're doing this in a methodical way.

       This is unchartered territory. It's clear that the president does not want some information
       that is included in his tax return to be revealed, otherwise he would not have broken with
       50 years of norms that Democrats and Republicans have adhered to releasing tax returns.
       There's a reason he doesn't want them there.

       So he will fight this, and he probably fight it as far as he can, because we expect that and
       for the reasons that I already stated, this is unchartered territory. It's very important that
       we're methodical and we lay the foundation for the public purpose to acquire access to
       these returns and that's the process that we're going through now.

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       The public has a right to know whether or not their elected officials are benefiting from
       the decisions that they make using the public responsibilities that the public has vested in
       them.

       So whether it's his personal entanglements, debt or the decisions that he's making on
       policy going forward, this is the reason disclosure is so important, this is the reason that
       past candidates and presidents have released their returns, so the public will know
       whether or not the individual has entanglements that could impact their public decision
       making, and that's really the purpose behind this entire area of inquiry for us.

All In with Chris Hayes (MS NBC television broadcast Feb. 7, 2019),
https://topnewsshow.com/all-in-with-chris-hayes-2-7-19-msnbc/,
http://www.msnbc.com/transcripts/all-in/2019-02-07.


Press Account Quoting Rep. Bill Pascrell (D-NJ) (Feb. 26, 2019)

       "Evidence that Trump has abused our tax laws is plentiful," Rep. Bill Pascrell (D-NJ),
       who has been making the case for pursuing Trump's tax returns under Section 6103
       essentially since Trump was inaugurated, said in an emailed statement to Vox. He cited a
       New York Times investigation into Trump and his family's tax practices that suggested
       the family for years engaged in a number of schemes to avoid taxes, and leaked pages
       from Trump's 1995 and 2005 tax returns; the 1995 ones show a nearly $1 billion loss.

       "Americans have a right to know if their president has paid his taxes, if he has followed
       the law, and if he is free from financial conflicts of interest," Pascrell continued. "The
       law is clear. Under 6103, the Ways and Means Committee chairman is entitled to request
       Trump's tax returns - and the Treasury secretary is obligated to deliver them. That's all
       there is to it."

Emily Stewart, Democrats' coming battle to get Trump's tax returns, explained, Vox, Feb. 26,
2019, https://www.vox.com/platform/amp/policy-and-politics/2019/2/26/18223760/democrats-
trump-tax-returns-richard-neal.


Speaker Nancy Pelosi (Apr. 4, 2019)

       No president in the modem era has worked so diligently to keep their tax returns out of
       the public eye. What is President Trump hiding?

@SpeakerPelosi, Twitter (Apr. 4, 2019),
https://twitter.com/SpeakerPelosi/status/l l 13886412649189376.


Press Account Quoting Chairman Richard Neal (Apr. 5, 2019)

       Neal told reporters on Thursday that he took roughly three months to build the case for
       requesting the returns, which he argued was reasonable given the gravity of the request.

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       "This was a very reasoned approach. Our position from day one was that this would be
       measured," Neal said. "This is likely to wind its way through the federal court system and
       we wanted to make sure that the case that we constructed was in fact one that would
       stand up under the critical scrutiny of the federal courts."

Sunlen Serfaty et al., Republicans warn Trump tax request 'sets a dangerous standard' and
accuse Dems of weaponizing IRS, CNN, Apr. 5, 2019,
https://www.cnn.com/2019/04/04/politics/trump-tax-retums-request-republicans-
congress/index.html.




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